              Case 18-00194-als11                   Doc 1        Filed 01/31/18 Entered 01/31/18 12:41:51                                Desc Main
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Fill in this information to identify your case:

United States Bankruptcy Court for the:

SOUTHERN DISTRICT OF IOWA, WESTERN DIVISION

Case number (if known)                                                        Chapter you are filing under:
                                                                                 Chapter 7

                                                                                 Chapter 11
                                                                                 Chapter 12
                                                                                 Chapter 13                                        Check if this an
                                                                                                                                   amended filing




Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                               12/17
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint
case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer
would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish
between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in
all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer
every question.


Part 1:   Identify Yourself

                                   About Debtor 1:                                                  About Debtor 2 (Spouse Only in a Joint Case):

1.   Your full name

     Write the name that is on     Anthony                                                          Mary
     your government-issued        First name                                                       First name
     picture identification (for
     example, your driver's        Wayne                                                            Frances
     license or passport).         Middle name                                                      Middle name
     Bring your picture
     identification to your
                                   Salter                                                           Salter
     meeting with the trustee.     Last name and Suffix (Sr., Jr., II, III)                         Last name and Suffix (Sr., Jr., II, III)




2.   All other names you have
     used in the last 8 years Tony Salter
     Include your married or
     maiden names.



3.   Only the last 4 digits of
     your Social Security
     number or federal             xxx-xx-0140                                                      xxx-xx-8279
     Individual Taxpayer
     Identification number
     (ITIN)




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Debtor 1   Anthony Wayne Salter
Debtor 2   Mary Frances Salter                                                                        Case number (if known)




                                 About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):

4.   Any business names and
     Employer Identification
     Numbers (EIN) you have         I have not used any business name or EINs.                    I have not used any business name or EINs.
     used in the last 8 years
                                 DBA Salter Farms, LLC
     Include trade names and     Business name(s)                                              Business name(s)
     doing business as names

                                 EINs                                                          EINs




5.   Where you live                                                                            If Debtor 2 lives at a different address:

                                 1776 250th Street
                                 Modale, IA 51556
                                 Number, Street, City, State & ZIP Code                        Number, Street, City, State & ZIP Code

                                 Harrison
                                 County                                                        County

                                 If your mailing address is different from the one             If Debtor 2's mailing address is different from yours, fill it
                                 above, fill it in here. Note that the court will send any     in here. Note that the court will send any notices to this
                                 notices to you at this mailing address.                       mailing address.



                                 Number, P.O. Box, Street, City, State & ZIP Code              Number, P.O. Box, Street, City, State & ZIP Code




6.   Why you are choosing        Check one:                                                    Check one:
     this district to file for
     bankruptcy                         Over the last 180 days before filing this petition,            Over the last 180 days before filing this petition, I
                                        I have lived in this district longer than in any               have lived in this district longer than in any other
                                        other district.                                                district.

                                        I have another reason.                                         I have another reason.
                                        Explain. (See 28 U.S.C. § 1408.)                               Explain. (See 28 U.S.C. § 1408.)




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Debtor 1    Anthony Wayne Salter
Debtor 2    Mary Frances Salter                                                                           Case number (if known)



Part 2:    Tell the Court About Your Bankruptcy Case

7.   The chapter of the      Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy
     Bankruptcy Code you are (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
     choosing to file under
                                Chapter 7

                                     Chapter 11
                                     Chapter 12
                                     Chapter 13



8.   How you will pay the fee            I will pay the entire fee when I file my petition. Please check with the clerk’s office in your local court for more details
                                         about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier’s check, or money
                                         order. If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with
                                         a pre-printed address.
                                         I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay
                                         The Filing Fee in Installments (Official Form 103A).
                                         I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may,
                                         but is not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line that
                                         applies to your family size and you are unable to pay the fee in installments). If you choose this option, you must fill out
                                         the Application to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.



9.   Have you filed for             No.
     bankruptcy within the
     last 8 years?                  Yes.
                                              District                                  When                            Case number
                                              District                                  When                            Case number
                                              District                                  When                            Case number



10. Are any bankruptcy              No
    cases pending or being
    filed by a spouse who is        Yes.
    not filing this case with
    you, or by a business
    partner, or by an
    affiliate?
                                              Debtor                                                                   Relationship to you
                                              District                                  When                           Case number, if known
                                              Debtor                                                                   Relationship to you
                                              District                                  When                           Case number, if known



11. Do you rent your                No.        Go to line 12.
    residence?
                                    Yes.       Has your landlord obtained an eviction judgment against you?
                                                         No. Go to line 12.
                                                         Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as part of
                                                         this bankruptcy petition.




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Debtor 2    Mary Frances Salter                                                                            Case number (if known)



Part 3:    Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor
    of any full- or part-time         No.      Go to Part 4.
    business?
                                      Yes.     Name and location of business
     A sole proprietorship is a
     business you operate as                   Name of business, if any
     an individual, and is not a
     separate legal entity such
     as a corporation,
     partnership, or LLC.
                                               Number, Street, City, State & ZIP Code
     If you have more than one
     sole proprietorship, use a
     separate sheet and attach
     it to this petition.                      Check the appropriate box to describe your business:
                                                       Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                       Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                       Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                       Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                       None of the above

13. Are you filing under           If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it can set appropriate
    Chapter 11 of the              deadlines. If you indicate that you are a small business debtor, you must attach your most recent balance sheet, statement of
    Bankruptcy Code and are        operations, cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure
    you a small business           in 11 U.S.C. 1116(1)(B).
    debtor?
                                      No.      I am not filing under Chapter 11.
     For a definition of small
     business debtor, see 11                   I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the Bankruptcy
     U.S.C. § 101(51D).               No.
                                               Code.

                                      Yes.     I am filing under Chapter 11 and I am a small business debtor according to the definition in the Bankruptcy Code.


Part 4:    Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any            No.
    property that poses or is
    alleged to pose a threat          Yes.
    of imminent and                          What is the hazard?
    identifiable hazard to
    public health or safety?
    Or do you own any
    property that needs                      If immediate attention is
    immediate attention?                     needed, why is it needed?

     For example, do you own
     perishable goods, or
     livestock that must be fed,             Where is the property?
     or a building that needs
     urgent repairs?
                                                                           Number, Street, City, State & Zip Code




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Debtor 1    Anthony Wayne Salter
Debtor 2    Mary Frances Salter                                                                        Case number (if known)

Part 5:    Explain Your Efforts to Receive a Briefing About Credit Counseling

                                     About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):
15. Tell the court whether           You must check one:                                           You must check one:
    you have received a                  I received a briefing from an approved credit                 I received a briefing from an approved credit
    briefing about credit                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
    counseling.                          filed this bankruptcy petition, and I received a              this bankruptcy petition, and I received a certificate of
                                         certificate of completion.                                    completion.
     The law requires that you
     receive a briefing about            Attach a copy of the certificate and the payment              Attach a copy of the certificate and the payment plan, if
     credit counseling before            plan, if any, that you developed with the agency.             any, that you developed with the agency.
     you file for bankruptcy.
     You must truthfully check           I received a briefing from an approved credit                 I received a briefing from an approved credit
     one of the following                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
     choices. If you cannot do           filed this bankruptcy petition, but I do not have             this bankruptcy petition, but I do not have a certificate
     so, you are not eligible to         a certificate of completion.                                  of completion.
     file.
                                         Within 14 days after you file this bankruptcy                 Within 14 days after you file this bankruptcy petition, you
     If you file anyway, the court       petition, you MUST file a copy of the certificate and         MUST file a copy of the certificate and payment plan, if
     can dismiss your case, you          payment plan, if any.                                         any.
     will lose whatever filing fee
     you paid, and your                  I certify that I asked for credit counseling                  I certify that I asked for credit counseling services
     creditors can begin                 services from an approved agency, but was                     from an approved agency, but was unable to obtain
     collection activities again.        unable to obtain those services during the 7                  those services during the 7 days after I made my
                                         days after I made my request, and exigent                     request, and exigent circumstances merit a 30-day
                                         circumstances merit a 30-day temporary waiver                 temporary waiver of the requirement.
                                         of the requirement.
                                                                                                       To ask for a 30-day temporary waiver of the requirement,
                                         To ask for a 30-day temporary waiver of the                   attach a separate sheet explaining what efforts you made
                                         requirement, attach a separate sheet explaining               to obtain the briefing, why you were unable to obtain it
                                         what efforts you made to obtain the briefing, why             before you filed for bankruptcy, and what exigent
                                         you were unable to obtain it before you filed for             circumstances required you to file this case.
                                         bankruptcy, and what exigent circumstances
                                         required you to file this case.                               Your case may be dismissed if the court is dissatisfied
                                                                                                       with your reasons for not receiving a briefing before you
                                         Your case may be dismissed if the court is                    filed for bankruptcy.
                                         dissatisfied with your reasons for not receiving a
                                         briefing before you filed for bankruptcy.                     If the court is satisfied with your reasons, you must still
                                         If the court is satisfied with your reasons, you must         receive a briefing within 30 days after you file. You must
                                         still receive a briefing within 30 days after you file.       file a certificate from the approved agency, along with a
                                         You must file a certificate from the approved                 copy of the payment plan you developed, if any. If you do
                                         agency, along with a copy of the payment plan you             not do so, your case may be dismissed.
                                         developed, if any. If you do not do so, your case
                                                                                                       Any extension of the 30-day deadline is granted only for
                                         may be dismissed.
                                                                                                       cause and is limited to a maximum of 15 days.
                                         Any extension of the 30-day deadline is granted
                                         only for cause and is limited to a maximum of 15
                                         days.
                                         I am not required to receive a briefing about                 I am not required to receive a briefing about credit
                                         credit counseling because of:                                 counseling because of:

                                               Incapacity.                                                  Incapacity.
                                               I have a mental illness or a mental deficiency               I have a mental illness or a mental deficiency that
                                               that makes me incapable of realizing or                      makes me incapable of realizing or making rational
                                               making rational decisions about finances.                    decisions about finances.

                                               Disability.                                                  Disability.
                                               My physical disability causes me to be                       My physical disability causes me to be unable to
                                               unable to participate in a briefing in person,               participate in a briefing in person, by phone, or
                                               by phone, or through the internet, even after I              through the internet, even after I reasonably tried to
                                               reasonably tried to do so.                                   do so.

                                               Active duty.                                                 Active duty.
                                               I am currently on active military duty in a                  I am currently on active military duty in a military
                                               military combat zone.                                        combat zone.
                                         If you believe you are not required to receive a              If you believe you are not required to receive a briefing
                                         briefing about credit counseling, you must file a             about credit counseling, you must file a motion for waiver
                                         motion for waiver credit counseling with the court.           of credit counseling with the court.




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Debtor 1    Anthony Wayne Salter
Debtor 2    Mary Frances Salter                                                                           Case number (if known)

Part 6:    Answer These Questions for Reporting Purposes

16. What kind of debts do        16a.      Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
    you have?                              individual primarily for a personal, family, or household purpose.”

                                               No. Go to line 16b.
                                               Yes. Go to line 17.
                                 16b.      Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                           money for a business or investment or through the operation of the business or investment.
                                               No. Go to line 16c.

                                               Yes. Go to line 17.
                                 16c.      State the type of debts you owe that are not consumer debts or business debts



17. Are you filing under            No.    I am not filing under Chapter 7. Go to line 18.
    Chapter 7?

     Do you estimate that           Yes.   I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative expenses
     after any exempt                      are paid that funds will be available to distribute to unsecured creditors?
     property is excluded and
     administrative expenses                   No
     are paid that funds will
     be available for                          Yes
     distribution to unsecured
     creditors?

18. How many Creditors do           1-49                                             1,000-5,000                                   25,001-50,000
    you estimate that you                                                            5001-10,000                                   50,001-100,000
    owe?                            50-99
                                    100-199                                          10,001-25,000                                 More than100,000
                                    200-999

19. How much do you                 $0 - $50,000                                     $1,000,001 - $10 million                      $500,000,001 - $1 billion
    estimate your assets to         $50,001 - $100,000                                                                             $1,000,000,001 - $10 billion
    be worth?                                                                        $10,000,001 - $50 million
                                    $100,001 - $500,000                              $50,000,001 - $100 million                    $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                   More than $50 billion


20. How much do you                 $0 - $50,000                                     $1,000,001 - $10 million                      $500,000,001 - $1 billion
    estimate your liabilities       $50,001 - $100,000                                                                             $1,000,000,001 - $10 billion
    to be?                                                                           $10,000,001 - $50 million
                                    $100,001 - $500,000                              $50,000,001 - $100 million                    $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                   More than $50 billion


Part 7:    Sign Below

For you                          I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.

                                 If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11,
                                 United States Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.

                                 If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this
                                 document, I have obtained and read the notice required by 11 U.S.C. § 342(b).

                                 I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                 I understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a
                                 bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,
                                 and 3571.
                                 /s/ Anthony Wayne Salter                                          /s/ Mary Frances Salter
                                 Anthony Wayne Salter                                              Mary Frances Salter
                                 Signature of Debtor 1                                             Signature of Debtor 2

                                 Executed on     January 31, 2018                                  Executed on     January 31, 2018
                                                 MM / DD / YYYY                                                    MM / DD / YYYY




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Debtor 1   Anthony Wayne Salter
Debtor 2   Mary Frances Salter                                                                            Case number (if known)




For your attorney, if you are   I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to proceed
represented by one              under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter
                                for which the person is eligible. I also certify that I have delivered to the debtor(s) the notice required by 11 U.S.C. § 342(b)
If you are not represented by   and, in a case in which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry that the information in the
an attorney, you do not need    schedules filed with the petition is incorrect.
to file this page.
                                /s/ Nicole Hughes                                                  Date         January 31, 2018
                                Signature of Attorney for Debtor                                                MM / DD / YYYY

                                Nicole Hughes
                                Printed name

                                Telpner Peterson Law Firm, LLP
                                Firm name

                                25 Main Place, Suite 200
                                P.O. Box 248
                                Council Bluffs, IA 51502-0248
                                Number, Street, City, State & ZIP Code

                                Contact phone     712-325-9000                               Email address         nhughes@telpnerlaw.com
                                IS9999071 IA
                                Bar number & State




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 Fill in this information to identify your case:

 Debtor 1                     Anthony Wayne Salter
                              First Name                    Middle Name                     Last Name

 Debtor 2                     Mary Frances Salter
 (Spouse if, filing)          First Name                    Middle Name                     Last Name


 United States Bankruptcy Court for the:              SOUTHERN DISTRICT OF IOWA, WESTERN DIVISION

 Case number
 (if known)                                                                                                                                      Check if this is an
                                                                                                                                                 amended filing



B 104
For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest
Unsecured Claims Against You and Are Not Insiders                          12/15

If you are an individual filing for bankruptcy under Chapter 11, you must fill out this form. If you are filing under Chapter 7, Chapter 12, or
Chapter 13, do not fill out this form. Do not include claims by anyone who is an insider. Insiders include your relatives; any general partners;
relatives of any general partners; partnerships of which you are a general partner; corporations of which you are an officer, director, person
in control, or owner of 20 percent or more of their voting securities; and any managing agent, including one for a business you operate as a
sole proprietor. 11 U.S.C. § 101. Also, do not include claims by secured creditors unless the unsecured claim resulting from inadequate
collateral value places the creditor among the holders of the 20 largest unsecured claims.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information.

 Part 1:        List the 20 Unsecured Claims in Order from Largest to Smallest. Do Not Include Claims by Insiders.

                                                                                                                                                Unsecured claim
 1                                                                   What is the nature of the claim?              Accounts and          $ $387,746.22
                                                                                                                   Documents of Title,
                                                                                                                   Crops, Farm Products,
                                                                                                                   , Equipment
              Agriland FS Inc.
              421 N. 10th St.                                        As of the date you file, the claim is: Check all that apply
              Winterset, IA 50273                                            Contingent
                                                                             Unliquidated
                                                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?
              Keith Becker

              kbecker@agrilandfs.com                                          No
              Contact                                                         Yes. Total claim (secured and unsecured)                 $ $387,746.22

              515-462-5368                                                          Value of security:                               - $ $0.00
              Contact phone                                                         Unsecured claim                                    $ $387,746.22


 2                                                                   What is the nature of the claim?              4 double wall vertical       $ $88,408.67
                                                                                                                   storage tanks (bulk
                                                                                                                   fertilizer plant), 20,000
                                                                                                                   gallon double wall
                                                                                                                   tank (bulk fuel
                                                                                                                   station), 18,000 gallon
                                                                                                                   propane tank
              Agriland FS Inc.

B104 (Official Form 104)                         For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                           Page 1

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 Debtor 1          Anthony Wayne Salter
 Debtor 2          Mary Frances Salter                                                              Case number (if known)

            421 N. 10th St.                                          As of the date you file, the claim is: Check all that apply
            Winterset, IA 50273                                              Contingent
                                                                             Unliquidated
                                                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?
            Keith Becker

            kbecker@agrilandfs.com                                            No
            Contact                                                           Yes. Total claim (secured and unsecured)                 $ $138,408.67

            515-462-5368                                                            Value of security:                               - $ $50,000.00
            Contact phone                                                           Unsecured claim                                    $ $88,408.67


 3                                                                   What is the nature of the claim?              Business Debt                $ $47,327.86
            American Express
            P.O. Box 6550448                                         As of the date you file, the claim is: Check all that apply
            Dallas, TX 75265-0448                                            Contingent
                                                                             Unliquidated
                                                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?
            Contact Unknown
                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                 $

            800-954-0559                                                            Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 4                                                                   What is the nature of the claim?              Business Debt                $ $115,459.21
            CNH
            Productivity Plus Account                                As of the date you file, the claim is: Check all that apply
            P.O. Box 790449                                                  Contingent
            Saint Louis, MO 63179                                            Unliquidated
                                                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?
            Contact Unknown
                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                 $

            800-357-1837                                                            Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 5                                                                   What is the nature of the claim?              Business Debt                $ $149,582.55
            Crop Production Services
            Wall Lake (Wholesale)                                    As of the date you file, the claim is: Check all that apply
            P.O. Box 10                                                      Contingent
            Wall Lake, IA 51466                                              Unliquidated
                                                                             Disputed


B 104 (Official Form 104)                        For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                         Page 2

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 Debtor 1          Anthony Wayne Salter
 Debtor 2          Mary Frances Salter                                                              Case number (if known)

                                                                              None of the above apply

                                                                     Does the creditor have a lien on your property?
            Dick Albright
                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                 $

            515-231-3467                                                            Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 6                                                                   What is the nature of the claim?              Business Debt               $ $28,991.00
            Cross Dillion Tire
            P.O. Box 81208                                           As of the date you file, the claim is: Check all that apply
            Lincoln, NE 68501                                                Contingent
                                                                             Unliquidated
                                                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?
            Jesse
                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                 $

            402-430-0169                                                            Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 7                                                                   What is the nature of the claim?              Business Debt               $ $14,574.85
            Discover Financial Services
            P.O. Box 30943                                           As of the date you file, the claim is: Check all that apply
            Salt Lake City, UT 84130-0943                                    Contingent
                                                                             Unliquidated
                                                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?
            Samantha Snyder

            samanthasnyder@discover.com                                       No
            Contact                                                           Yes. Total claim (secured and unsecured)                 $

            224-405-3770                                                            Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 8                                                                   What is the nature of the claim?              Business Debt               $ $107,969.11
            Forward Financing, LLC
            36 Bromfield Street, Ste. 210                            As of the date you file, the claim is: Check all that apply
            Boston, MA 02108                                                 Contingent
                                                                             Unliquidated
                                                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?
            Kimberly Emerling                                                No


B 104 (Official Form 104)                        For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                        Page 3

Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
            Case 18-00194-als11                        Doc 1          Filed 01/31/18 Entered 01/31/18 12:41:51                                    Desc Main
                                                                     Document     Page 11 of 92


 Debtor 1          Anthony Wayne Salter
 Debtor 2          Mary Frances Salter                                                              Case number (if known)


            kemerling@forwardfinancing.co
            m
            Contact                                                           Yes. Total claim (secured and unsecured)                 $

            617-918-7048                                                            Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 9                                                                   What is the nature of the claim?              Business Debt                $ $17,649.41
            Heartland Ag
            P.O. Box 1070                                            As of the date you file, the claim is: Check all that apply
            Ames, IA 50014                                                   Contingent
                                                                             Unliquidated
                                                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?
            Contact Unknown
                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                 $

            515-292-4488                                                            Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 10                                                                  What is the nature of the claim?              Deferred Dividends at $ $485,000.00
                                                                                                                   Co-op, Inventory,
                                                                                                                   Chattel Paper,
                                                                                                                   Documetns,
                                                                                                                   Instruments,
                                                                                                                   Accounts, Equipment,
                                                                                                                   General Intangibles,
                                                                                                                   Crops, Farm Products,
                                                                                                                   Equipme
            Heartland Credit Company LLC
            2829 Westown Parkway, #350                               As of the date you file, the claim is: Check all that apply
            West Des Moines, IA 50266                                        Contingent
                                                                             Unliquidated
                                                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?
            Don Frazer

            dfrazer@heartlandcoop.com                                         No
            Contact                                                           Yes. Total claim (secured and unsecured)                 $ $500,000.00

            515-974-4337                                                            Value of security:                               - $ $1,715,000.00
            Contact phone                                                           Unsecured claim                                    $ $485,000.00


 11                                                                  What is the nature of the claim?              Deferred Dividends at        $ $350,000.00
                                                                                                                   Co-op, Inventory,
                                                                                                                   Chattel Paper,
                                                                                                                   Documetns,
                                                                                                                   Instruments,

B 104 (Official Form 104)                        For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                          Page 4

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 Debtor 1          Anthony Wayne Salter
 Debtor 2          Mary Frances Salter                                                              Case number (if known)

                                                                                                                   Accounts, Equipment,
                                                                                                                   General Intangibles,
                                                                                                                   Crops, Farm Products,
                                                                                                                   Equipme
            Heartland Credit Company LLC
            P.O. Box 71399                                           As of the date you file, the claim is: Check all that apply
            Clive, IA 50325                                                  Contingent
                                                                             Unliquidated
                                                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?
            Don Frazer

            dfrazer@heartlandcoop.com                                         No
            Contact                                                           Yes. Total claim (secured and unsecured)                 $ $350,000.00

            515-974-4337                                                            Value of security:                               - $ $0.00
            Contact phone                                                           Unsecured claim                                    $ $350,000.00


 12                                                                  What is the nature of the claim?              Business Debt                $ $475,374.83
            John Deere Financial
            P.O. Box 4450                                            As of the date you file, the claim is: Check all that apply
            Carol Stream, IL 60197-4450                                      Contingent
                                                                             Unliquidated
                                                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?
            Chad Hefel

            hefelchadc@johndeere.com                                          No
            Contact                                                           Yes. Total claim (secured and unsecured)                 $

            515-782-3978                                                            Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 13                                                                  What is the nature of the claim?              Business Debt                $ $43,211.00
            Linden Aerial Spraying
            18998 140th Street                                       As of the date you file, the claim is: Check all that apply
            Whiting, IA 51063                                                Contingent
                                                                             Unliquidated
                                                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?
            Vance Linden
                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                 $

            712-420-8666                                                            Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 14                                                                  What is the nature of the claim?              Business Debt                $ $160,834.28


B 104 (Official Form 104)                        For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                         Page 5

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 Debtor 1          Anthony Wayne Salter
 Debtor 2          Mary Frances Salter                                                              Case number (if known)

            Merchant Cash and Capital, LLC
            460 Park Avenue South, 10th                              As of the date you file, the claim is: Check all that apply
            Floor                                                            Contingent
            New York, NY 10016                                               Unliquidated
                                                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?
            Contact Unknown
                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                 $

            866-542-1515                                                            Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 15                                                                  What is the nature of the claim?              Business Debt -             $ $67,237.00
                                                                                                                   Personal Guaranty
            Northland Capital Financial
            Services,LLC                                             As of the date you file, the claim is: Check all that apply
            P.O. Box 7278                                                    Contingent
            Saint Cloud, MN 56302                                            Unliquidated
                                                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?
            Contact Unknown

            mail@northlandcapital.com                                         No
            Contact                                                           Yes. Total claim (secured and unsecured)                 $

            800-471-2122                                                            Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 16                                                                  What is the nature of the claim?              Business Debt -             $ $35,056.00
                                                                                                                   Personal Guaranty
            Northland Capital Financial
            Services,LLC                                             As of the date you file, the claim is: Check all that apply
            P.O. Box 7278                                                    Contingent
            Saint Cloud, MN 56302                                            Unliquidated
                                                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?
            Contact Unknown

            mail@northlandcapital.com                                         No
            Contact                                                           Yes. Total claim (secured and unsecured)                 $

            800-471-2122                                                            Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 17                                                                  What is the nature of the claim?              Business Debt -             $ $16,652.00
                                                                                                                   Personal Guaranty
            Northland Capital Financial


B 104 (Official Form 104)                        For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                        Page 6

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 Debtor 1          Anthony Wayne Salter
 Debtor 2          Mary Frances Salter                                                              Case number (if known)

            Services,LLC                                             As of the date you file, the claim is: Check all that apply
            P.O. Box 7278                                                    Contingent
            Saint Cloud, MN 56302                                            Unliquidated
                                                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?
            Contact Unknown

            mail@northlandcapital.com                                         No
            Contact                                                           Yes. Total claim (secured and unsecured)                 $

            800-471-2122                                                            Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 18                                                                  What is the nature of the claim?              Business Debt               $ $252,479.16
            Rabo Agrifinance, LLC
            6919 Chancellor Drive                                    As of the date you file, the claim is: Check all that apply
            Cedar Falls, IA 50613                                            Contingent
                                                                             Unliquidated
                                                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?
            Contact Unknown

            CustomerConnect@RaboAg.com                                        No
            Contact                                                           Yes. Total claim (secured and unsecured)                 $

            855-722-7766                                                            Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 19                                                                  What is the nature of the claim?              Business Debt               $ $133,412.00
            RCIS
            3501 Thurston Ave.                                       As of the date you file, the claim is: Check all that apply
            Anoka, MN 55303                                                  Contingent
                                                                             Unliquidated
                                                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?
            Contact Unknown
                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                 $

            888-567-7247                                                            Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 20                                                                  What is the nature of the claim?              Business Debt               $ $499,326.00
            Syngenta Seeds, LLC
            13783 Collections Center Dr.                             As of the date you file, the claim is: Check all that apply
            Chicago, IL 60693-0137                                           Contingent
                                                                             Unliquidated
                                                                             Disputed


B 104 (Official Form 104)                        For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                        Page 7

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 Debtor 1          Anthony Wayne Salter
 Debtor 2          Mary Frances Salter                                                              Case number (if known)

                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?
            Sean Atwell

            sean.atwell@syngenta.com                                         No
            Contact                                                          Yes. Total claim (secured and unsecured)                  $

            336-632-6129                                                           Value of security:                                -$
            Contact phone                                                          Unsecured claim                                    $


 Part 2:      Sign Below

 Under penalty of perjury, I declare that the information provided in this form is true and correct.

 X     /s/ Anthony Wayne Salter                                                         X   /s/ Mary Frances Salter
       Anthony Wayne Salter                                                                 Mary Frances Salter
       Signature of Debtor 1                                                                Signature of Debtor 2


       Date      January 31, 2018                                                           Date     January 31, 2018




B 104 (Official Form 104)                        For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                    Page 8

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              Case 18-00194-als11                           Doc 1         Filed 01/31/18 Entered 01/31/18 12:41:51                                                Desc Main
                                                                         Document     Page 16 of 92
 Fill in this information to identify your case:

 Debtor 1                   Anthony Wayne Salter
                            First Name                           Middle Name                          Last Name

 Debtor 2                   Mary Frances Salter
 (Spouse if, filing)        First Name                           Middle Name                          Last Name


 United States Bankruptcy Court for the:                  SOUTHERN DISTRICT OF IOWA, WESTERN DIVISION

 Case number
 (if known)                                                                                                                                                       Check if this is an
                                                                                                                                                                  amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                             12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 Part 1:        Summarize Your Assets

                                                                                                                                                                 Your assets
                                                                                                                                                                 Value of what you own

 1.     Schedule A/B: Property (Official Form 106A/B)
        1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................   $          4,808,000.00

        1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................        $          5,957,726.74

        1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................   $         10,765,726.74

 Part 2:        Summarize Your Liabilities

                                                                                                                                                                 Your liabilities
                                                                                                                                                                 Amount you owe

 2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
        2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                    $          9,304,177.23

 3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
        3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................                          $                      0.00

        3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................                            $          2,235,894.51


                                                                                                                                     Your total liabilities $           11,540,071.74


 Part 3:        Summarize Your Income and Expenses

 4.     Schedule I: Your Income (Official Form 106I)
        Copy your combined monthly income from line 12 of Schedule I................................................................................             $              18,354.43

 5.     Schedule J: Your Expenses (Official Form 106J)
        Copy your monthly expenses from line 22c of Schedule J..........................................................................                         $              18,616.86

 Part 4:        Answer These Questions for Administrative and Statistical Records

 6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
             No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

           Yes
 7.     What kind of debt do you have?

                Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
                household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

            Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
            the court with your other schedules.
 Official Form 106Sum           Summary of Your Assets and Liabilities and Certain Statistical Information                        page 1 of 2
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                                     Best Case Bankruptcy
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 Debtor 1      Anthony Wayne Salter
 Debtor 2      Mary Frances Salter                                                        Case number (if known)

 8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
       122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                          $


 9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                         Total claim
       From Part 4 on Schedule E/F, copy the following:

       9a. Domestic support obligations (Copy line 6a.)                                                   $              0.00

       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $              0.00

       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $              0.00

       9d. Student loans. (Copy line 6f.)                                                                 $              0.00

       9e. Obligations arising out of a separation agreement or divorce that you did not report as
           priority claims. (Copy line 6g.)                                                               $              0.00

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$              0.00


       9g. Total. Add lines 9a through 9f.                                                           $                 0.00




Official Form 106Sum                             Summary of Your Assets and Liabilities and Certain Statistical Information                   page 2 of 2
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                                                                              Document     Page 18 of 92
 Fill in this information to identify your case and this filing:

 Debtor 1                    Anthony Wayne Salter
                             First Name                                 Middle Name                    Last Name

 Debtor 2                    Mary Frances Salter
 (Spouse, if filing)         First Name                                 Middle Name                    Last Name


 United States Bankruptcy Court for the:                      SOUTHERN DISTRICT OF IOWA, WESTERN DIVISION

 Case number                                                                                                                                                     Check if this is an
                                                                                                                                                                 amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                                     12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

        No. Go to Part 2.

        Yes. Where is the property?




 1.1                                                                            What is the property? Check all that apply
        1085 S. 13th Ave., #402                                                        Single-family home                         Do not deduct secured claims or exemptions. Put
        Street address, if available, or other description                                                                        the amount of any secured claims on Schedule D:
                                                                                       Duplex or multi-unit building
                                                                                                                                  Creditors Who Have Claims Secured by Property.
                                                                                       Condominium or cooperative

                                                                                       Manufactured or mobile home
                                                                                                                                  Current value of the       Current value of the
        Blair                             NE        68008-0000                         Land                                       entire property?           portion you own?
        City                              State              ZIP Code                  Investment property                               $150,000.00                $150,000.00
                                                                                       Timeshare
                                                                                                                                  Describe the nature of your ownership interest
                                                                                       Other                                      (such as fee simple, tenancy by the entireties, or
                                                                                Who has an interest in the property? Check one    a life estate), if known.
                                                                                       Debtor 1 only                              Fee Simple
        Washington                                                                     Debtor 2 only
        County                                                                         Debtor 1 and Debtor 2 only
                                                                                                                                       Check if this is community property
                                                                                       At least one of the debtors and another         (see instructions)
                                                                                Other information you wish to add about this item, such as local
                                                                                property identification number:
                                                                                Condo legally described as Southridge Condominium Property Regime IV
                                                                                Unit 402, being a part of Tax Lot 233, Section 13, Township 18 North,
                                                                                Range 11, East of the 6th P.M., City of Blair, Washington County,
                                                                                Nebraska and a 25% undivided interest in the common elements of said
                                                                                Regime IV as set out in the Master Deed and any amendments thereto, of
                                                                                record.




Official Form 106A/B                                                                  Schedule A/B: Property                                                                  page 1
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 Debtor 1        Anthony Wayne Salter
 Debtor 2        Mary Frances Salter                                                                                     Case number (if known)

       If you own or have more than one, list here:
 1.2                                                                    What is the property? Check all that apply
       2000 N. Fashion Show Dr., Unit 3221                                     Single-family home                              Do not deduct secured claims or exemptions. Put
       Street address, if available, or other description                                                                      the amount of any secured claims on Schedule D:
                                                                               Duplex or multi-unit building
                                                                                                                               Creditors Who Have Claims Secured by Property.
                                                                               Condominium or cooperative

                                                                               Manufactured or mobile home
                                                                                                                               Current value of the       Current value of the
       Las Vegas                         NV        89109-0000                  Land                                            entire property?           portion you own?
       City                              State              ZIP Code           Investment property                                    $420,000.00                $420,000.00
                                                                               Timeshare
                                                                                                                               Describe the nature of your ownership interest
                                                                               Other                                           (such as fee simple, tenancy by the entireties, or
                                                                        Who has an interest in the property? Check one         a life estate), if known.
                                                                               Debtor 1 only                                   Fee Simple
       Clark                                                                   Debtor 2 only
       County                                                                  Debtor 1 and Debtor 2 only
                                                                                                                                    Check if this is community property
                                                                               At least one of the debtors and another              (see instructions)
                                                                        Other information you wish to add about this item, such as local
                                                                        property identification number:
                                                                        Condo legally described as Unit 3221 in the Trump International Hotel &
                                                                        Tower - Las Vegas, as shown by map thereof on file in Book 139 of Plats,
                                                                        Page 56, and as set forth in the declaration of covenants, conditions and
                                                                        restrictions and reservation of easements (the "declaration") for the
                                                                        Trump International Hotel & Tower - Las Vegas, recorded February 22,
                                                                        2008 in Book 20080222 as document no. 0004835, both in the office of the
                                                                        county recorder of Clark County, Nevada and an allocated interest as a
                                                                        tenant-in-common in the common elements of the Trump International
                                                                        Hotel & Tower - Las Vegas (including any annexations thereto), as shown
                                                                        by map thereof on file in Book 139 of Plats, Page 56, in the office of the
                                                                        county recorder of Clark County, Nevada, and as set forth in the
                                                                        declaration and a non-exclusive easement for access, ingress, egress,
                                                                        use, enjoyment and other purposes all as described in the declaration.


       If you own or have more than one, list here:
 1.3                                                                    What is the property? Check all that apply
       1776 250th St.                                                          Single-family home                              Do not deduct secured claims or exemptions. Put
       Street address, if available, or other description                                                                      the amount of any secured claims on Schedule D:
                                                                               Duplex or multi-unit building
                                                                                                                               Creditors Who Have Claims Secured by Property.
                                                                               Condominium or cooperative

                                                                               Manufactured or mobile home
                                                                                                                               Current value of the       Current value of the
       Modale                            IA        51556-0000                  Land                                            entire property?           portion you own?
       City                              State              ZIP Code           Investment property                                    $504,000.00                $504,000.00
                                                                               Timeshare
                                                                                                                               Describe the nature of your ownership interest
                                                                               Other                                           (such as fee simple, tenancy by the entireties, or
                                                                        Who has an interest in the property? Check one         a life estate), if known.
                                                                               Debtor 1 only                                   Fee Simple
       Harrison                                                                Debtor 2 only
       County                                                                  Debtor 1 and Debtor 2 only
                                                                                                                                    Check if this is community property
                                                                               At least one of the debtors and another              (see instructions)
                                                                        Other information you wish to add about this item, such as local
                                                                        property identification number:
                                                                        Homestead on 40 acres (Kirlin Farm) (See attached legal description.)




Official Form 106A/B                                                       Schedule A/B: Property                                                                          page 2
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 Debtor 1        Anthony Wayne Salter
 Debtor 2        Mary Frances Salter                                                                                     Case number (if known)

       If you own or have more than one, list here:
 1.4                                                                    What is the property? Check all that apply
       Austin Avenue                                                           Single-family home                              Do not deduct secured claims or exemptions. Put
       Street address, if available, or other description                                                                      the amount of any secured claims on Schedule D:
                                                                               Duplex or multi-unit building
                                                                                                                               Creditors Who Have Claims Secured by Property.
                                                                               Condominium or cooperative

                                                                               Manufactured or mobile home
                                                                                                                               Current value of the       Current value of the
                                         IA        00000-0000                  Land                                            entire property?           portion you own?
       City                              State              ZIP Code           Investment property                                 $1,618,000.00               $1,618,000.00
                                                                               Timeshare
                                                                                                                               Describe the nature of your ownership interest
                                                                               Other                                           (such as fee simple, tenancy by the entireties, or
                                                                        Who has an interest in the property? Check one         a life estate), if known.
                                                                               Debtor 1 only                                   Fee Simple
       Harrison                                                                Debtor 2 only
       County                                                                  Debtor 1 and Debtor 2 only
                                                                                                                                    Check if this is community property
                                                                               At least one of the debtors and another              (see instructions)
                                                                        Other information you wish to add about this item, such as local
                                                                        property identification number:
                                                                        Grain Elevator and 2 Buildings on 27.9 Acres (Gilmore Farm) (See
                                                                        attached legal description.)


       If you own or have more than one, list here:
 1.5                                                                    What is the property? Check all that apply
       3128 Austin Ave.                                                        Single-family home                              Do not deduct secured claims or exemptions. Put
       Street address, if available, or other description                                                                      the amount of any secured claims on Schedule D:
                                                                               Duplex or multi-unit building
                                                                                                                               Creditors Who Have Claims Secured by Property.
                                                                               Condominium or cooperative

                                                                               Manufactured or mobile home
                                                                                                                               Current value of the       Current value of the
       Modale                            IA        51556-0000                  Land                                            entire property?           portion you own?
       City                              State              ZIP Code           Investment property                                 $2,116,000.00               $2,116,000.00
                                                                               Timeshare
                                                                                                                               Describe the nature of your ownership interest
                                                                               Other                                           (such as fee simple, tenancy by the entireties, or
                                                                        Who has an interest in the property? Check one         a life estate), if known.
                                                                               Debtor 1 only                                   Fee Simple
       Harrison                                                                Debtor 2 only
       County                                                                  Debtor 1 and Debtor 2 only
                                                                                                                                    Check if this is community property
                                                                               At least one of the debtors and another              (see instructions)
                                                                        Other information you wish to add about this item, such as local
                                                                        property identification number:
                                                                        House on 270.74 Acres (Wupper Farm) (See attached legal description.)


 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for
    pages you have attached for Part 1. Write that number here...........................................................................=>                 $4,808,000.00

 Part 2: Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.




Official Form 106A/B                                                       Schedule A/B: Property                                                                          page 3
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 Debtor 1        Anthony Wayne Salter
 Debtor 2        Mary Frances Salter                                                                                Case number (if known)

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

        No
        Yes


  3.1    Make:       Lexus                                     Who has an interest in the property? Check one                 Do not deduct secured claims or exemptions. Put
                                                                                                                              the amount of any secured claims on Schedule D:
         Model:      RX450h                                          Debtor 1 only                                            Creditors Who Have Claims Secured by Property.
         Year:       2017                                            Debtor 2 only
                                                                                                                              Current value of the      Current value of the
         Approximate mileage:                   28000                Debtor 1 and Debtor 2 only                               entire property?          portion you own?
         Other information:                                          At least one of the debtors and another


                                                                     Check if this is community property                              $43,000.00                 $43,000.00
                                                                     (see instructions)



  3.2    Make:       Lexus                                     Who has an interest in the property? Check one                 Do not deduct secured claims or exemptions. Put
                                                                                                                              the amount of any secured claims on Schedule D:
         Model:      SC430                                           Debtor 1 only                                            Creditors Who Have Claims Secured by Property.
         Year:       2003                                            Debtor 2 only
                                                                                                                              Current value of the      Current value of the
         Approximate mileage:                 130000                 Debtor 1 and Debtor 2 only                               entire property?          portion you own?
         Other information:                                          At least one of the debtors and another


                                                                     Check if this is community property                                $5,800.00                  $5,800.00
                                                                     (see instructions)



  3.3    Make:       Lexus                                     Who has an interest in the property? Check one                 Do not deduct secured claims or exemptions. Put
                                                                                                                              the amount of any secured claims on Schedule D:
         Model:      LS600hl                                         Debtor 1 only                                            Creditors Who Have Claims Secured by Property.
         Year:       2008                                            Debtor 2 only                                            Current value of the      Current value of the
         Approximate mileage:                 120000                 Debtor 1 and Debtor 2 only                               entire property?          portion you own?
         Other information:                                          At least one of the debtors and another


                                                                     Check if this is community property                              $12,000.00                 $12,000.00
                                                                     (see instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

        No
        Yes



 5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
   .pages you have attached for Part 2. Write that number here.............................................................................=>                 $60,800.00


 Part 3: Describe Your Personal and Household Items
 Do you own or have any legal or equitable interest in any of the following items?                                                                   Current value of the
                                                                                                                                                     portion you own?
                                                                                                                                                     Do not deduct secured
                                                                                                                                                     claims or exemptions.
6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
     No
        Yes. Describe.....

                                    Household Goods and Furnishings                                                                                                 $1,700.00




Official Form 106A/B                                                       Schedule A/B: Property                                                                        page 4
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7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
              including cell phones, cameras, media players, games
      No
        Yes. Describe.....

                                    Electronics                                                                                                  $1,000.00


8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
               other collections, memorabilia, collectibles
      No
        Yes. Describe.....

                                    Coin Collection                                                                                              $1,000.00


9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
             musical instruments
        No
        Yes. Describe.....

10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
      No
        Yes. Describe.....

                                    Shotgun, Pistol                                                                                                $400.00


11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
      No
        Yes. Describe.....

                                    Clothes                                                                                                        $100.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
      No
        Yes. Describe.....

                                    Jewelry                                                                                                        $200.00


                                    Wedding Rings                                                                                                  $500.00


13. Non-farm animals
    Examples: Dogs, cats, birds, horses
        No
        Yes. Describe.....

14. Any other personal and household items you did not already list, including any health aids you did not list
        No
        Yes. Give specific information.....




Official Form 106A/B                                                   Schedule A/B: Property                                                         page 5
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 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
     for Part 3. Write that number here ..............................................................................                                          $4,900.00


 Part 4: Describe Your Financial Assets
 Do you own or have any legal or equitable interest in any of the following?                                                                           Current value of the
                                                                                                                                                       portion you own?
                                                                                                                                                       Do not deduct secured
                                                                                                                                                       claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
     No
        Yes................................................................................................................

                                                                                                                                 Cash                                     $0.00


17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                  institutions. If you have multiple accounts with the same institution, list each.
     No
     Yes........................                                     Institution name:


                                              17.1.       Checking                                TS Bank                                                               $69.00



                                              17.2.       Checking                                TS Bank                                                                 $0.00



                                              17.3.       Checking                                American National Bank                                          $70,000.00



                                              17.4.       Checking                                American National Bank                                            $6,000.00



                                              17.5.       Hedge                                   R.J. O'Brien                                                      $2,000.00


18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
     No
     Yes..................        Institution or issuer name:


                                                        Heartland Coop Stock                                                                                      $14,144.00


19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
    joint venture
      No
        Yes. Give specific information about them...................
                                   Name of entity:                                                                             % of ownership:

                                                  Salter Farms, LLC (Debts exceed assets)                                           100          %                        $0.00


20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
        No

Official Form 106A/B                                                                       Schedule A/B: Property                                                        page 6
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        Yes. Give specific information about them
                                    Issuer name:

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
     No
        Yes. List each account separately.
                                Type of account:                            Institution name:

                                          IRA                               Fidelity                                                                 $27,000.00


                                          IRA                               Fidelity                                                                 $77,330.07


                                          TSP                               Veteran's Administration                                               $326,000.00


                                          FERS                              Veteran's Administration (Monthly Benefit
                                                                            upon Retirement)                                                           Unknown


22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
        No
        Yes. .....................                                          Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
        No
        Yes.............             Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
        No
        Yes.............             Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
        No
        Yes. Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
        No
        Yes. Give specific information about them...

27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
      No
        Yes. Give specific information about them...

                                                Nursing License                                                                                              $0.00


 Money or property owed to you?                                                                                                           Current value of the
                                                                                                                                          portion you own?
                                                                                                                                          Do not deduct secured
                                                                                                                                          claims or exemptions.




Official Form 106A/B                                                   Schedule A/B: Property                                                               page 7
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28. Tax refunds owed to you
      No
        Yes. Give specific information about them, including whether you already filed the returns and the tax years.......




                                                         Tax Refunds                                           Federal and State               $2,000.00


29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
        No
        Yes. Give specific information......


30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
              benefits; unpaid loans you made to someone else
      No
        Yes. Give specific information..

                                                      Accrued, unpaid wages including any wages previously
                                                      garnished or currently being held by any entity.                                         $1,000.00


31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
      No
        Yes. Name the insurance company of each policy and list its value.
                                 Company name:                                                  Beneficiary:                       Surrender or refund
                                                                                                                                   value:

                                         Business Auto, Farm Property and
                                         Workers Compensation Insurance with
                                         Nationwide                                                                                            Unknown


                                         Agricultural Equipment Insurance
                                         Policy with Chubb Group of Insurance
                                         Companies (tractors)                                                                                  Unknown


                                         Homeowner's Insurance Policy with
                                         Nationwide Affinity Insurance
                                         Company (Blair House)                                                                                 Unknown


                                         Personal Vehicle Insurance Policy with
                                         Wadena Insurance Company                                                                              Unknown


                                         Homeowner's Insurance Policy with
                                         State Farm (Las Vegas Condo)                           Spouse                                               $0.00


                                         Whole Life Insurance Policy through
                                         New York Life insuring Debtor 1 (Face
                                         Value = $250,000)                                      Debtor 2                                     $60,124.60




Official Form 106A/B                                                   Schedule A/B: Property                                                       page 8
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                                         Whole Life Insurance Policy through
                                         New York Life insuring Debtor 1 (Face
                                         Value = $100,000)                                      Debtor 2                                        $36,821.92


                                         Term Life Insurance Policy through
                                         New York Life insuring Debtor 1 (Face
                                         Value = $1,000,000)                                    Debtor 2                                                $0.00


                                         Whole Life Insurance Policy through
                                         New York Life insuring Debtor 1 (Face
                                         Value = $150,000)                                      Debtor 2                                        $77,201.73


                                         Whole Life Insurance Policy through
                                         New York Life insuring Debtor 2 (Face
                                         Value = $100,000)                                      Debtor 1                                        $30,145.65


                                         Whole Life Insurance Policy through
                                         New York Life insuring Debtor 2 (Face
                                         Value = $100,000)                                      Debtor 1                                        $39,339.77


                                         Agricultural Equipment with Riverport
                                         Insurance Company (pivots)                                                                                     $0.00


                                         Term Life Insurance through Veteran's
                                         Administration insuring Debtor 2 (Face
                                         Value = $66,000)                                       Debtor 1                                                $0.00


                                         Professional Liability Insurance
                                         through American Casualty Company                                                                              $0.00


32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
    someone has died.
        No
        Yes. Give specific information..


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
      No
        Yes. Describe each claim.........

                                                      Pending Claim against United States of America for alleged
                                                      violations of the takings clause of the 5th Amendment                                       Unknown


34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
        No
        Yes. Describe each claim.........

35. Any financial assets you did not already list
        No
        Yes. Give specific information..



Official Form 106A/B                                                   Schedule A/B: Property                                                           page 9
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 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
     for Part 4. Write that number here.....................................................................................................................         $769,176.74


 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
       No. Go to Part 6.
       Yes. Go to line 38.



 Part 6:   Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
           If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
           No. Go to Part 7.

           Yes. Go to line 47.

                                                                                                                                                               Current value of the
                                                                                                                                                               portion you own?
                                                                                                                                                               Do not deduct secured
                                                                                                                                                               claims or exemptions.

47. Farm animals
     Examples: Livestock, poultry, farm-raised fish
        No
        Yes................


48. Crops—either growing or harvested
      No
        Yes. Give specific information.....


                                        450,000 bu. of corn of which 250,000 bu. is contracted at $4.06/bu.                                                           $1,715,000.00


49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade
      No
        Yes................


                                      Machinery & Equipment (See attached list)                                                                                       $2,957,850.00


                                      Irrigation Equipment including 2012 Monona Pivot, 2013 Wupper
                                      Pivot, Cuttoff Wupper Pivot                                                                                                         $80,000.00


50. Farm and fishing supplies, chemicals, and feed
      No
        Yes................

                                      Fuel                                                                                                                                $45,000.00


                                      Propane                                                                                                                             $25,000.00


51. Any farm- and commercial fishing-related property you did not already list
     No
        Yes. Give specific information.....


Official Form 106A/B                                                           Schedule A/B: Property                                                                            page 10
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                                         USDA Government Payments                                                                                                              Unknown


                                         Federal Crop Insurance Claim                                                                                                      $300,000.00


 52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached
     for Part 6. Write that number here .....................................................................................................................          $5,122,850.00


 Part 7:          Describe All Property You Own or Have an Interest in That You Did Not List Above


53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership
        No
        Yes. Give specific information.........


 54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                       $0.00

 Part 8:         List the Totals of Each Part of this Form

 55. Part 1: Total real estate, line 2 ......................................................................................................................            $4,808,000.00
 56. Part 2: Total vehicles, line 5                                                                         $60,800.00
 57. Part 3: Total personal and household items, line 15                                                     $4,900.00
 58. Part 4: Total financial assets, line 36                                                               $769,176.74
 59. Part 5: Total business-related property, line 45                                                            $0.00
 60. Part 6: Total farm- and fishing-related property, line 52                                           $5,122,850.00
 61. Part 7: Total other property not listed, line 54                                             +              $0.00

 62. Total personal property. Add lines 56 through 61...                                                 $5,957,726.74                Copy personal property total        $5,957,726.74

 63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                     $10,765,726.74




Official Form 106A/B                                                               Schedule A/B: Property                                                                           page 11
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  Legal Descriptions:

  Homestead on 40 acres (Kirlin Farm)

  A tract of land in the Northeast Quarter of the Northeast Quarter (NE 1/4 NE 1/4)
  in Section Twenty-one (21), Township Seventy-nine (79), North Range Forty-
  four (44), West of the 5th P.M., Harrison County, Iowa, more particularly
  described as: Beginning at the northwest corner of the NE ¼ NE ¼ in Section
  21, Township 79 North, Range 44 West Harrison County, Iowa; thence running
  south on said quarter quarter line 298.5 feet to an iron pin; thence running east
  275.3 feet to an iron pin; thence running north 298.5 feet to an iron pin on the
  section line; thence running west 275.3 feet on said section line to the point of
  beginning; containing 1.8 acres more or less.
  AND

  The Northwest Quarter of the Northeast Quarter (NW ¼ NE ¼) of Section
  Twenty-one (21), Township Seventy-nine (79) North, Range Forty-four (44)
  West of the 5th P.M., in Harrison County, Iowa.


  Grain Elevator and 2 Buildings on 27.9 Acres (Gilmore Farm)

  Lot B of the Correction Plat of Salter Subdivision of Government Lot Seven (7)
  of Section Four (4), Township Seventy-eight (78) North, Range Forty-five (45)
  West of the 5th P.M., as platted in Book 2016 Page 0357 of the Harrison County
  Recorder's Office on February 17, 2016.
  AND
  The North 183 feet of Lot C of the Salter Subdivision of Government Lot Seven
  (7) of Section Four (4), Township 78 North, Range Forty-five (45) West of the
  5th P.M., Harrison County, Iowa as platted in Book 2015 Page 1792 of the
  Harrison County Recorder's Office on August 13, 2015.
  AND

  Lot E and Lot F of the Salter Subdivision of Government Lot 7 of Section 4,
  Township 78 North, Range 45 West of the 5th P.M., as platted in Book 2015
  Page 1792 of the Harrison County Recorder's Office on August 13,2015

  House on 270.74 Acres (Wupper Farm)

  The Southwest Quarter of the Northeast Quarter (SW1/4 NE1/4); and Government Lot
  Three (3); all of Government Lot Two (2) Except 33 ½ rods off the West side thereof, and
  Except the railroad right of way, in Section Seventeen (17); all in Township Seventy-eight
  (78) North, Range Forty-five (45) West of the 5th P.M., Harrison County, Iowa.
  EXCEPT the tracts deeded to the Union Pacific Railroad Company by the Trustee’s Deed
  recorded in Book 2011 Page 0955 filed April 20, 2011.
  EXCEPT Parcel “B” of Colwell’s survey of part of Lot 2 of the SE1/4 NW1/4 of Section 17,
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  Township 78 North, Range 45 West of the 5th P.M., Harrison County, Iowa. Said survey
  being recorded in Book 2003 at Page 0400 of the records of the Harrison County
  Recorder.

  AND

  The South Half of the Northwest Quarter (S1/2 NW1/4), and the North Half of the
  Southwest Quarter (N1/2 SW1/4) of Section Sixteen (16), Township Seventy-eight (78)
  North, Range Forty-five (45) West of the 5th P.M., Harrison County, Iowa, excepting right of
  way for railroad.
  EXCEPT the tracts deeded to the Union Pacific Railroad Company by the Trustee’s Deed
  recorded in Book 2011 Page 0920 filed April 18, 2011

  AND

  That part of the NW ¼ SE ¼ NW ¼ of Section 17, Township 78 North, Range 45 West of
  the 5th P.M., that lies North and East of the County Road, Harrison County, Iowa.
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Anthony and Mary Salter Equipment List

Year               Make/Model                 Description           SN#            Value
       TRACTORS
1983   STEIGER KP 1360                   Tractor            82076409                $38,000
2010   CASE IH 535 QUADTRAC              QuadTrac           ZAF118228              $177,000
2001   CASE IH STX 375                   QuadTrac           JEE0098076              $67,500
2009   JD 8345RT                         Tractor            1RW8345CAD92062        $157,500
2013   CASE IH ROWTRAC 450               QuadTrac           ZDF135768              $255,000
2004   CAT MT 755                        Tractor            CMT755TALM20258         $65,000
2001   CASE IH MX200 MFD                 Tractor            JJA0106771              $58,000
1995   CASE IH 7220                      Tractor            JJA0055090              $42,000
2013   CASE320ct                         Skid Steer         JAFTR320JEM440430       $41,500
1972   IH 1468                           Restored Tractor   2650119U007271          $25,000
1974   IH 1466                           Tractor            2650114U022779           $8,500
1976   IH 1466 black stripe              Tractor            29840                   $11,000
1976   IH HYDRO 100                      Tractor            11971                   $15,500
1984   IH 5288                           Tractor            1064                    $16,500
1973   IH1066 HI CROP                    Tractor            41670                   $13,250
1970   IH 856 HI CROP                    Restored Tractor   20933                   $15,000
1964   IH 806 HI CROP                    Tractor            28640                    $6,000
1985   IH 5488                           Tractor            4025                    $20,900
1984   IH 5088                           Tractor            2540024005002           $15,000
1985   IH 3688                           Restored Tractor   32106                   $18,500
1985   IH 3488 HYDRO MFD                 Restored Tractor                           $25,000
1983   IH 3288                           Tractor            1114                    $12,000
1974   IH1566                            Tractor            7562                     $9,500
1976   IH1586                            Restored Tractor   9380                    $12,000
1981   IH 886                            Restored Tractor   13644                   $10,500
1966   IH 1206                           Restored Tractor   15309                   $15,000
1965   IH 1206                           Restored Tractor   24898                   $15,000
1966   IH 1206/CAB                       Restored Tractor                           $15,000
1967   ih 1206                           Restored Tractor   11493                   $15,000
1965   IH 1206 MFD                       Tractor                                    $15,000
1967   IH 1206 WHEATLAND                 Tractor                                     $8,000
1963   IH 806 WHEATLAND                  Tractor            2673                     $7,000
1963   IH 706 WHEATLAND                  Tractor            1375                     $6,000
1970   IH 826                            Tractor            8142                       $750
1970   ih 856                            Restored Tractor   13729                   $17,500
1957   IH 450D                           Tractor            17874                    $3,500
1963   JOHN DEERE 3020                   Tractor                                     $4,000
1956   SUPER MTA                         Restored Tractor   72318                    $6,500
1957   IH 400D                           Restored Tractor   6449                     $3,500
1950   IH SUPER C                        Tractor                                     $1,800
1950   IH SUPER C                        Tractor                                     $1,800
1950   IH C                              Tractor            23312                    $2,500
1951   IH C LOADER                       Tractor            51154                    $2,500
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1950   2 IH M                            Tractor            213775X                  $2,000
1953   IH SM / LOADER                    Tractor                                     $2,500
1956   IH H                              Tractor            383398                     $850
1956   IH TD9                            Tractor                                     $5,000
1937   IH F20                            Tractor                                     $1,000
1939   IH F20                            Tractor                                     $2,200
       IH M w/ 2MH                       Tractor/Picker     39158X                   $2,000
       IH H w/ 24                        Tractor/Picker     335075                   $1,500
2012   TRIMBLE FMX 1000                  Guidance                                    $6,500
2012   TRIMBLE FMX 1000                  Guidance                                    $6,500
2013   TRIMBLE FMX 1000                  Guidance                                    $6,500
2009   JD AUTO GUIDE                     Guidance                                    $8,000
2010   JD AUTO GUIDE                     Guidance                                    $8,000
2008   AFS ACCUGUIDE                     Guidance                                    $7,500
2010   AFS ACCUGUIDE                     Guidance                                    $7,500
2016   AFS ACCUGUIDE                     Guidance                                    $7,500
       COMBINES-HEADERS
2008   CASE IH 9120                                         Y8G0205035             $165,000
2009   CASE IH 3412                                         YCS039118               $35,000
2007   BRENT TRAILER                                                                 $4,500
2004   CASE IH 2162 40'                                     YCZN34267                $4,000
2004   BRENT TRAILER                                                                 $5,000
2012   CASE IH 9230                                         YCG216150              $195,000
2013   CASE IH 3412                                         Y9S019471               $35,000
2004   BRENT TRAILER                                                                 $4,500
2010   CASE IH 2162 40                                      13291                   $40,000
2008   BRENT TRAILER 45'                                    4789                     $5,000
2013   CASE IH 2162 35                                      36158                   $35,000
2008   BRENT TRAILER 45'                                                             $4,500
2010   CASE IH 3412                                                                 $45,000
2004   BRENT TRAILER                                                                 $4,500
       PLANTING EQUIP
2007   JOHN DEERE 1770                                      A01770E720312           $70,000
2009   JOHN DEERE 1770                                      A01770E735514           $66,000
2016   SOUCY TRACKS                                                                 $20,000
2010   JD 1890 DRILL                                        AC1990S735159           $29,000
2012   JD 1890 DRILL                                                                $29,000
2013   J M SEED TENDER                                      1206199                 $14,000
2011   FREISEN SEED CART                                    6729110146938           $15,000
2012   UNVERFERTH TENDER                                    D55630219               $12,500
2006   BOX TENDER                                                                    $5,500
2013   SEED CONVEYOR                                                                 $7,500
2008   SEED TREATER                                                                 $21,000
2011   BULK SEED SYSTEM                                                            $107,000
       SPRAYING EQUIP
2009   CASEIH 4420                                          Y8T024443               $90,000
2012   24ROW FERT MACHINE                                   YCD057997               $30,000
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2016   CAMSO TRACK UNIT                                                             $20,000
2010   JD 8345RT TANKS                                                               $5,000
2015   ROWTRAC 1250 TANK                                                             $2,500
1995   SLIM LINE 400                                                                 $1,200
1997   FERT WAGON #1                                                                 $1,000
2010   SCHABEN FERT WAGON                                                            $5,000
2012   PORTABLE FERT TANKS                                                           $4,000
2010   YETTER 4 WHEEL STEER                                                          $8,000
2010   YETTER 4 WHEEL STEER                                                          $8,000
1970   SEMI TANKER                                                                   $4,500
1973   SEMI TANKER                                                                   $9,000
       TILLAGE
2012   SALFORD RTS EX                                       125028M                 $45,000
2010   SALFORD 570                                                                  $27,000
1992   JOHN DEERE 635                                       R00635X000553            $5,600
2014   CASE IH RMX 370                                      JFH0045934              $40,000
2002   CASE IH TIGERMATE                                                            $14,000
1990   CASE IH 165 ROLL OVER PLOW                                                    $4,000
1985   WIL RICH 62'                                                                  $2,000
2008   RHINO CUTTER                                                                  $1,300
1970   IH CUTTER                                                                       $400
       WAGONS & AUGERS
2013   JM 1151 TRACKS                                       1205134                 $55,000
2012   JM 1151 TRACKS                                       1306533                 $55,000
       JM 750 AUGER CART                                    2117                    $12,000
       CULTIVATORS
2003   ORTHMAN CULT                                         5295-29                  $4,000
1991   WHITE CULT                                                                    $1,500
1991   WHITE CULT                                                                    $1,200
1975   ROTARY HOE                                                                      $300
1998   RHINO BLADE                                                                   $2,500
2015   HURRICANE DITCHER                                    3PT26                    $4,800
2005   WESTENDORF LOADER                                                             $2,500
       ATV'S & ETC..
2016   POLARIS RANGER                                                               $15,000
2009   POLARIS 850 4X4                                                               $7,500
2004   POLARIS 700                                                                   $4,500
1989   POLARIS 250                                                                   $4,500
1959   YALE FORK LIFT                                                                $2,500
1995   TOYOTA FORK LIFT                                     2FDC2512639                $500
1995   TOYOTA FORK LIFT                                     7FG2070396               $6,000
2005   TOYOTA FORK LIFT                                     7FGCU2569591            $10,000
2009   TOYOTA FORK LIFT                                     86644                   $10,000
2008   DEERE 425                                                                     $2,500
2017   DEERE                                                                        $16,000
1990   CUB CADET                                            252577                   $1,500
1992   CAR TRAILER                                                                   $2,000
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       IRRIGATION EQUIPMENT
2002   CUMMINS 5.9 W GEN                                                              $7,500
2002   CUMMINS 5.9 W GEN                                                              $7,500
2002   CUMMINS 5.9 W GEN                                                              $7,500
2002   CUMMINS 5.9 W GEN                                                              $7,500
2003   CUMMINS MOTOR                                                                  $7,500
2003   CUMMINS MOTOR                                                                  $7,500
2003   DUETZ MOTOR                                                                    $7,500
2000   DUETZ MOTORS                                                                   $7,500
2003   DUETZ MOTOR                                                                    $7,500
       WAGNET/FIELDNETS                                                               $7,500
       2000 ' 8" PIPE                                                                 $3,000
       1320 8" PIPE                                                                   $1,500
       TOTAL                                                                      $2,957,850
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                                                                     Document     Page 35 of 92
 Fill in this information to identify your case:

 Debtor 1                 Anthony Wayne Salter
                          First Name                        Middle Name                 Last Name

 Debtor 2                 Mary Frances Salter
 (Spouse if, filing)      First Name                        Middle Name                 Last Name


 United States Bankruptcy Court for the:              SOUTHERN DISTRICT OF IOWA, WESTERN DIVISION

 Case number
 (if known)                                                                                                                               Check if this is an
                                                                                                                                          amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                    4/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

 Part 1:        Identify the Property You Claim as Exempt

 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

           You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)

           You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
      Brief description of the property and line on            Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
      Schedule A/B that lists this property                    portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

      1776 250th St. Modale, IA 51556                                $504,000.00                              $504,000.00      Iowa Code §§ 561.2, 561.16,
      Harrison County                                                                                                          499A.18
      Homestead on 40 acres (Kirlin Farm)                                                  100% of fair market value, up to
      (See attached legal description.)                                                    any applicable statutory limit
      Line from Schedule A/B: 1.3

      2017 Lexus RX450h 28000 miles                                   $43,000.00                                 $7,000.00     Iowa Code § 627.6(9)
      Line from Schedule A/B: 3.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

      2008 Lexus LS600hl 120000 miles                                 $12,000.00                                 $7,000.00     Iowa Code § 627.6(9)
      Line from Schedule A/B: 3.3
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

      Household Goods and Furnishings                                  $1,700.00                                 $1,700.00     Iowa Code § 627.6(5)
      Line from Schedule A/B: 6.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

      Electronics                                                      $1,000.00                                 $1,000.00     Iowa Code § 627.6(5)
      Line from Schedule A/B: 7.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit



Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                      page 1 of 4
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 Debtor 1    Anthony Wayne Salter
 Debtor 2    Mary Frances Salter                                                                         Case number (if known)

     Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     Shotgun, Pistol                                                     $400.00                                   $400.00        Iowa Code § 627.6(2)
     Line from Schedule A/B: 10.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Clothes                                                             $100.00                                   $100.00        Iowa Code § 627.6(5)
     Line from Schedule A/B: 11.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Wedding Rings                                                       $500.00                                   $500.00        Iowa Code § 627.6(1)(a)
     Line from Schedule A/B: 12.2
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Cash                                                                   $0.00                                     $0.00       Iowa Code § 627.6(14)
     Line from Schedule A/B: 16.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Checking: American National Bank                                 $70,000.00                                 $1,000.00        Iowa Code § 627.6(14)
     Line from Schedule A/B: 17.3
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Checking: American National Bank                                  $6,000.00                                 $1,000.00        Iowa Code § 627.6(14)
     Line from Schedule A/B: 17.4
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     IRA: Fidelity                                                    $27,000.00                               $27,000.00         Iowa Code § 627.6(8)(e) & (f)
     Line from Schedule A/B: 21.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     IRA: Fidelity                                                    $77,330.07                               $77,330.07         Iowa Code § 627.6(8)(e) & (f)
     Line from Schedule A/B: 21.2
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     TSP: Veteran's Administration                                   $326,000.00                              $326,000.00         Iowa Code § 627.6(8)(e) & (f)
     Line from Schedule A/B: 21.3
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     FERS: Veteran's Administration                                    Unknown                                  Unknown           Iowa Code § 627.6(8)(e) & (f)
     (Monthly Benefit upon Retirement)
     Line from Schedule A/B: 21.4                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

     Federal and State: Tax Refunds                                    $2,000.00                                 $2,000.00        Iowa Code § 627.6(10)
     Line from Schedule A/B: 28.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                         page 2 of 4
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 Debtor 1    Anthony Wayne Salter
 Debtor 2    Mary Frances Salter                                                                         Case number (if known)

     Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     Accrued, unpaid wages including                                    $1,000.00                                $1,000.00        In Re Irish, 311 B.R. 63 (8th
     any wages previously garnished or                                                                                            Cir. BAP 2004)
     currently being held by any entity.                                                   100% of fair market value, up to
     Line from Schedule A/B: 30.1                                                          any applicable statutory limit

     Whole Life Insurance Policy through                               $60,124.60                              $60,124.60         Iowa Code §627.6(6)
     New York Life insuring Debtor 1
     (Face Value = $250,000)                                                               100% of fair market value, up to
     Beneficiary: Debtor 2                                                                 any applicable statutory limit
     Line from Schedule A/B: 31.6

     Whole Life Insurance Policy through                               $36,821.92                              $36,921.92         Iowa Code §627.6(6)
     New York Life insuring Debtor 1
     (Face Value = $100,000)                                                               100% of fair market value, up to
     Beneficiary: Debtor 2                                                                 any applicable statutory limit
     Line from Schedule A/B: 31.7

     Term Life Insurance Policy through                                     $0.00                                     $0.00       Iowa Code §627.6(6)
     New York Life insuring Debtor 1
     (Face Value = $1,000,000)                                                             100% of fair market value, up to
     Beneficiary: Debtor 2                                                                 any applicable statutory limit
     Line from Schedule A/B: 31.8

     Whole Life Insurance Policy through                               $77,201.73                              $77,201.73         Iowa Code §627.6(6)
     New York Life insuring Debtor 1
     (Face Value = $150,000)                                                               100% of fair market value, up to
     Beneficiary: Debtor 2                                                                 any applicable statutory limit
     Line from Schedule A/B: 31.9

     Whole Life Insurance Policy through                               $30,145.65                              $30,145.65         Iowa Code §627.6(6)
     New York Life insuring Debtor 2
     (Face Value = $100,000)                                                               100% of fair market value, up to
     Beneficiary: Debtor 1                                                                 any applicable statutory limit
     Line from Schedule A/B: 31.10

     Whole Life Insurance Policy through                               $39,339.77                              $39,339.77         Iowa Code §627.6(6)
     New York Life insuring Debtor 2
     (Face Value = $100,000)                                                               100% of fair market value, up to
     Beneficiary: Debtor 1                                                                 any applicable statutory limit
     Line from Schedule A/B: 31.11

     Term Life Insurance through                                            $0.00                                     $0.00       Iowa Code §627.6(6)
     Veteran's Administration insuring
     Debtor 2 (Face Value = $66,000)                                                       100% of fair market value, up to
     Beneficiary: Debtor 1                                                                 any applicable statutory limit
     Line from Schedule A/B: 31.13

     *                                                                      $0.00                                     $0.00       Unless specifically stated
     Line from Schedule A/B:                                                                                                      otherwise, the debtor intends
                                                                                           100% of fair market value, up to       to claim 100% of the fair
                                                                                           any applicable statutory limit         market value of each item
                                                                                                                                  listed in this schedule as
                                                                                                                                  exempt.

     Machinery & Equipment (See                                      $2,957,850.00                             $20,000.00         Iowa Code § 627.6(11)
     attached list)
     Line from Schedule A/B: 49.1                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit


Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                         page 3 of 4
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 Debtor 1    Anthony Wayne Salter
 Debtor 2    Mary Frances Salter                                                               Case number (if known)

 3. Are you claiming a homestead exemption of more than $160,375?
    (Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)
            No
            Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                   No
                   Yes




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                page 4 of 4
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 Fill in this information to identify your case:

 Debtor 1                   Anthony Wayne Salter
                            First Name                      Middle Name                      Last Name

 Debtor 2                   Mary Frances Salter
 (Spouse if, filing)        First Name                      Middle Name                      Last Name


 United States Bankruptcy Court for the:              SOUTHERN DISTRICT OF IOWA, WESTERN DIVISION

 Case number
 (if known)                                                                                                                                       Check if this is an
                                                                                                                                                  amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                         12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
number (if known).
1. Do any creditors have claims secured by your property?
           No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
           Yes. Fill in all of the information below.
 Part 1:        List All Secured Claims
                                                                                                            Column A               Column B                Column C
 2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
 for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As   Amount of claim        Value of collateral     Unsecured
 much as possible, list the claims in alphabetical order according to the creditor’s name.                  Do not deduct the      that supports this      portion
                                                                                                            value of collateral.   claim                   If any
 2.1     Agrifund, LLC                            Describe the property that secures the claim:             $1,700,000.00            $2,015,000.00                      $0.00
         Creditor's Name                          Crops, Farm Products, Equipment,
                                                  Inventory, Accounts, General
                                                  Intangibles, Chattel Paper
                                                  As of the date you file, the claim is: Check all that
         1720 23rd St.                            apply.
         Fremont, NE 68025                            Contingent
         Number, Street, City, State & Zip Code       Unliquidated
                                                      Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
     Debtor 1 only                                    An agreement you made (such as mortgage or secured
     Debtor 2 only                                     car loan)

       Debtor 1 and Debtor 2 only                     Statutory lien (such as tax lien, mechanic's lien)
     At least one of the debtors and another          Judgment lien from a lawsuit
       Check if this claim relates to a               Other (including a right to offset)   NPMSI
       community debt

 Date debt was incurred          7/3/17                    Last 4 digits of account number


 2.2     Agriland FS Inc.                         Describe the property that secures the claim:               $138,408.67                $50,000.00           $88,408.67
         Creditor's Name                          4 double wall vertical storage tanks
                                                  (bulk fertilizer plant), 20,000 gallon
                                                  double wall tank (bulk fuel station),
                                                  18,000 gallon propane tank
                                                  As of the date you file, the claim is: Check all that
         421 N. 10th St.                          apply.
         Winterset, IA 50273                          Contingent
         Number, Street, City, State & Zip Code       Unliquidated
                                                      Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
     Debtor 1 only                                    An agreement you made (such as mortgage or secured
     Debtor 2 only                                     car loan)

       Debtor 1 and Debtor 2 only                     Statutory lien (such as tax lien, mechanic's lien)
     At least one of the debtors and another          Judgment lien from a lawsuit
       Check if this claim relates to a               Other (including a right to offset)   PMSI
       community debt



Official Form 106D                                Schedule D: Creditors Who Have Claims Secured by Property                                                      page 1 of 9
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             Case 18-00194-als11                          Doc 1        Filed 01/31/18 Entered 01/31/18 12:41:51                             Desc Main
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 Debtor 1 Anthony Wayne Salter                                                                                Case number (if know)
               First Name                  Middle Name                      Last Name
 Debtor 2 Mary Frances Salter
               First Name                  Middle Name                      Last Name


 Date debt was incurred          12/23/14                    Last 4 digits of account number


 2.3     Agriland FS Inc.                           Describe the property that secures the claim:                  $387,746.22            $0.00     $387,746.22
         Creditor's Name                            Accounts and Documents of Title,
                                                    Crops, Farm Products, , Equipment
                                                    As of the date you file, the claim is: Check all that
         421 N. 10th St.                            apply.
         Winterset, IA 50273                             Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)   NPMSI
       community debt

 Date debt was incurred          3/29/17                     Last 4 digits of account number


         CNH Industrial Capital
 2.4                                                                                                                $44,010.00        $45,000.00             $0.00
         America LLC                                Describe the property that secures the claim:
         Creditor's Name                            Case IH 3412 Corn Head

                                                    As of the date you file, the claim is: Check all that
         500 Diller Ave.                            apply.
         New Holland, PA 17557                           Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
                                                          car loan)
    Debtor 2 only
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)   PMSI
       community debt

 Date debt was incurred                                      Last 4 digits of account number         9025

         CNH Industrial Capital
 2.5                                                                                                                $33,000.00        $40,000.00             $0.00
         America LLC                                Describe the property that secures the claim:
         Creditor's Name                            Case IH Soil Preparation 370

                                                    As of the date you file, the claim is: Check all that
         500 Diller Ave.                            apply.
         New Holland, PA 17557                           Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
                                                          car loan)
    Debtor 2 only
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)   PSMI
       community debt


Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                     page 2 of 9
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 Debtor 1 Anthony Wayne Salter                                                                                Case number (if know)
               First Name                  Middle Name                      Last Name
 Debtor 2 Mary Frances Salter
               First Name                  Middle Name                      Last Name


 Date debt was incurred          9/20/16                     Last 4 digits of account number


 2.6     Deere & Company                            Describe the property that secures the claim:                   $32,000.00         $66,000.00             $0.00
         Creditor's Name                            John Deere 1770 Planter

         6400 NW 86th St.
                                                    As of the date you file, the claim is: Check all that
         P.O. Box 6600                              apply.
         Johnston, IA 50131-6630                         Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)   PMSI
       community debt

 Date debt was incurred          3/21/16                     Last 4 digits of account number


 2.7     Deere & Company                            Describe the property that secures the claim:                   $25,000.00         $29,000.00             $0.00
         Creditor's Name                            John Deere 1990SH CCS Air Seeder
                                                    30'
         6400 NW 86th St.
                                                    As of the date you file, the claim is: Check all that
         P.O. Box 6600                              apply.
         Johnston, IA 50131-6630                         Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
                                                          car loan)
    Debtor 2 only
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)   PMSI
       community debt

 Date debt was incurred          5/12/15                     Last 4 digits of account number


         Farm Credit Services of
 2.8                                                                                                                $36,828.76        $150,000.00             $0.00
         America                                    Describe the property that secures the claim:
         Creditor's Name                            1085 S. 13th Ave., #402 Blair, NE
                                                    68008 Washington County
                                                    Condo legally described as
                                                    Southridge Condominium Property
                                                    Regime IV Unit 402, being a part of
                                                    Tax Lot 233, Section 13, Township
                                                    18 North, Range 11, East of the 6th
                                                    P.M., City of B
                                                    As of the date you file, the claim is: Check all that
         P.O. Box 2409                              apply.
         Omaha, NE 68103-2409                            Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
                                                          car loan)
    Debtor 2 only


Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                      page 3 of 9
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 Debtor 1 Anthony Wayne Salter                                                                                Case number (if know)
               First Name                  Middle Name                      Last Name
 Debtor 2 Mary Frances Salter
               First Name                  Middle Name                      Last Name


       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)   Deed of Trust
       community debt

 Date debt was incurred                                      Last 4 digits of account number         9001

         First Western Bank &
 2.9                                                                                                                  $9,000.00              $0.00        $9,000.00
         Trust                                      Describe the property that secures the claim:
         Creditor's Name                            Exacpta Uniforce for 1990 John
                                                    Deere Drill
                                                    As of the date you file, the claim is: Check all that
         100 Prairie Center Drive                   apply.
         Eden Prairie, MN 55344                          Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
                                                          car loan)
    Debtor 2 only
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)   PMSI
       community debt

 Date debt was incurred                                      Last 4 digits of account number


 2.1     Heartland Credit
 0       Company LLC                                Describe the property that secures the claim:                  $500,000.00        $1,715,000.00    $485,000.00
         Creditor's Name                            Deferred Dividends at Co-op,
                                                    Inventory, Chattel Paper,
                                                    Documetns, Instruments, Accounts,
         2829 Westown Parkway,                      Equipment, General Intangibles,
         #350                                       Crops, Farm Products, Equipment
                                                    As of the date you file, the claim is: Check all that
         West Des Moines, IA                        apply.
         50266                                           Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)   NPMSI
       community debt

 Date debt was incurred          2/16/17                     Last 4 digits of account number


 2.1     Heartland Credit
 1       Company LLC                                Describe the property that secures the claim:                  $350,000.00               $0.00     $350,000.00
         Creditor's Name                            Deferred Dividends at Co-op,
                                                    Inventory, Chattel Paper,
                                                    Documetns, Instruments, Accounts,
                                                    Equipment, General Intangibles,
                                                    Crops, Farm Products, Equipment
                                                    As of the date you file, the claim is: Check all that
         P.O. Box 71399                             apply.
         Clive, IA 50325                                 Contingent


Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                        page 4 of 9
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 Debtor 1 Anthony Wayne Salter                                                                                Case number (if know)
               First Name                  Middle Name                      Last Name
 Debtor 2 Mary Frances Salter
               First Name                  Middle Name                      Last Name


         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)   NPSMI
       community debt

 Date debt was incurred          11/22/17                    Last 4 digits of account number


 2.1
 2       Lexus Financial Services                   Describe the property that secures the claim:                   $32,000.00        $43,000.00             $0.00
         Creditor's Name                            2017 Lexus RX450h 28000 miles

                                                    As of the date you file, the claim is: Check all that
         P.O. Box 105386                            apply.
         Atlanta, GA 30348                               Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)   PMSI
       community debt

 Date debt was incurred                                      Last 4 digits of account number


 2.1     New York Life Insurance
 3       Company                                    Describe the property that secures the claim:                   $26,055.34        $60,124.60             $0.00
         Creditor's Name                            Whole Life Insurance Policy through
                                                    New York Life insuring Debtor 1
                                                    (Face Value = $250,000)
                                                    Beneficiary: Debtor 2
                                                    As of the date you file, the claim is: Check all that
         51 Madison Ave.                            apply.
         New York, NY 10010                              Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred                                      Last 4 digits of account number


 2.1     New York Life Insurance
 4       Company                                    Describe the property that secures the claim:                   $27,946.33        $36,821.92             $0.00




Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                     page 5 of 9
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 Debtor 1 Anthony Wayne Salter                                                                                Case number (if know)
               First Name                  Middle Name                      Last Name
 Debtor 2 Mary Frances Salter
               First Name                  Middle Name                      Last Name


         Creditor's Name                            Whole Life Insurance Policy through
                                                    New York Life insuring Debtor 1
                                                    (Face Value = $100,000)
                                                    Beneficiary: Debtor 2
                                                    As of the date you file, the claim is: Check all that
         51 Madison Ave.                            apply.
         New York, NY 10010                              Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred                                      Last 4 digits of account number


 2.1     New York Life Insurance
 5       Company                                    Describe the property that secures the claim:                   $65,230.27        $77,201.73             $0.00
         Creditor's Name                            Whole Life Insurance Policy through
                                                    New York Life insuring Debtor 1
                                                    (Face Value = $150,000)
                                                    Beneficiary: Debtor 2
                                                    As of the date you file, the claim is: Check all that
         51 Madison Ave.                            apply.
         New York, NY 10010                              Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred                                      Last 4 digits of account number


 2.1     New York Life Insurance
 6       Company                                    Describe the property that secures the claim:                   $22,960.44        $30,145.65             $0.00
         Creditor's Name                            Whole Life Insurance Policy through
                                                    New York Life insuring Debtor 2
                                                    (Face Value = $100,000)
                                                    Beneficiary: Debtor 1
                                                    As of the date you file, the claim is: Check all that
         51 Madison Ave.                            apply.
         New York, NY 10010                              Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt



Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                     page 6 of 9
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 Debtor 1 Anthony Wayne Salter                                                                                Case number (if know)
               First Name                  Middle Name                      Last Name
 Debtor 2 Mary Frances Salter
               First Name                  Middle Name                      Last Name


 Date debt was incurred                                      Last 4 digits of account number


 2.1     New York Life Insurance
 7       Company                                    Describe the property that secures the claim:                   $32,035.06          $39,339.77              $0.00
         Creditor's Name                            Whole Life Insurance Policy through
                                                    New York Life insuring Debtor 2
                                                    (Face Value = $100,000)
                                                    Beneficiary: Debtor 1
                                                    As of the date you file, the claim is: Check all that
         51 Madison Ave.                            apply.
         New York, NY 10010                              Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred                                      Last 4 digits of account number


 2.1     Security National
 8       Mortgage Company                           Describe the property that secures the claim:                  $294,000.00         $420,000.00              $0.00
         Creditor's Name                            2000 N. Fashion Show Dr., Unit 3221
                                                    Las Vegas, NV 89109 Clark County
                                                    Condo legally described as Unit
                                                    3221 in the Trump International
                                                    Hotel & Tower - Las Vegas, as
                                                    shown by map thereof on file in
                                                    Book 139 of Plats, Page 56, and as
                                                    set fort
                                                    As of the date you file, the claim is: Check all that
         5300 S. 360 West                           apply.
         Salt Lake City, UT 84123                        Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)   Mortgage
       community debt

 Date debt was incurred                                      Last 4 digits of account number         5900

 2.1
 9       Treynor State Bank                         Describe the property that secures the claim:                $1,214,518.29        $9,487,350.00             $0.00
         Creditor's Name                            Iowa Real Estate, 2003 Lexus, 2008
                                                    Lexis, Crops, Farm Products,
         15 E. Main St.                             Equipment, Deposit Accounts
                                                    As of the date you file, the claim is: Check all that
         P.O. Box A                                 apply.
         Treynor, IA 51575                               Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.

Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                        page 7 of 9
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 Debtor 1 Anthony Wayne Salter                                                                                Case number (if know)
               First Name                  Middle Name                      Last Name
 Debtor 2 Mary Frances Salter
               First Name                  Middle Name                      Last Name



    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)   NPSMI
       community debt

 Date debt was incurred          4/24/15                     Last 4 digits of account number         3101

 2.2
 0       Treynor State Bank                         Describe the property that secures the claim:                $2,906,437.25        $9,487,350.00             $0.00
         Creditor's Name                            Iowa Real Estate, 2003 Lexus, 2008
                                                    Lexis, Crops, Farm Products,
         15 E. Main St.                             Equipment, Deposit Accounts
                                                    As of the date you file, the claim is: Check all that
         P.O. Box A                                 apply.
         Treynor, IA 51575                               Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)   PMSI
       community debt

 Date debt was incurred          8/17/15                     Last 4 digits of account number         3190

 2.2
 1       Treynor State Bank                         Describe the property that secures the claim:                $1,277,695.50        $9,487,350.00             $0.00
         Creditor's Name                            Iowa Real Estate, 2003 Lexus, 2008
                                                    Lexis, Crops, Farm Products,
         15 E. Main St.                             Equipment, Deposit Accounts
                                                    As of the date you file, the claim is: Check all that
         P.O. Box A                                 apply.
         Treynor, IA 51575                               Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)   PMSI
       community debt

 Date debt was incurred          3/7/16                      Last 4 digits of account number         3336

 2.2
 2       Treynor State Bank                         Describe the property that secures the claim:                  $149,305.10        $9,487,350.00             $0.00
         Creditor's Name                            Iowa Real Estate, 2003 Lexus, 2008
                                                    Lexis, Crops, Farm Products,
         15 E. Main St.                             Equipment, Deposit Accounts
                                                    As of the date you file, the claim is: Check all that
         P.O. Box A                                 apply.
         Treynor, IA 51575                               Contingent
         Number, Street, City, State & Zip Code          Unliquidated


Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                        page 8 of 9
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 Debtor 1 Anthony Wayne Salter                                                                             Case number (if know)
              First Name                Middle Name                      Last Name
 Debtor 2 Mary Frances Salter
              First Name                Middle Name                      Last Name


                                                      Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
    Debtor 1 only                                     An agreement you made (such as mortgage or secured
    Debtor 2 only                                      car loan)

    Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another           Judgment lien from a lawsuit
    Check if this claim relates to a                  Other (including a right to offset)   PMSI
    community debt

 Date debt was incurred       3/7/16                      Last 4 digits of account number         3337


   Add the dollar value of your entries in Column A on this page. Write that number here:                              $9,304,177.23
   If this is the last page of your form, add the dollar value totals from all pages.
   Write that number here:                                                                                             $9,304,177.23

 Part 2:    List Others to Be Notified for a Debt That You Already Listed
 Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
 trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
 than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
 debts in Part 1, do not fill out or submit this page.

        Name, Number, Street, City, State & Zip Code                                               On which line in Part 1 did you enter the creditor?   2.1
        Ag Resource Management
        505 Main Street, Ste. 350                                                                  Last 4 digits of account number   1840
        Fort Worth, TX 76102

        Name, Number, Street, City, State & Zip Code                                               On which line in Part 1 did you enter the creditor?   2.4
        CNH Industrial Capital
        P.O. Box 3600                                                                              Last 4 digits of account number
        Lancaster, PA 17604-3600

        Name, Number, Street, City, State & Zip Code                                               On which line in Part 1 did you enter the creditor?   2.11
        Heartland Credit Company, LLC
        128 Third St. N.W.                                                                         Last 4 digits of account number
        P.O. Box 80
        Sioux Center, IA 51250

        Name, Number, Street, City, State & Zip Code                                               On which line in Part 1 did you enter the creditor?   2.11
        Heartland Credit Company, LLC
        2829 Westown Parkway, #350                                                                 Last 4 digits of account number
        West Des Moines, IA 50266

        Name, Number, Street, City, State & Zip Code                                               On which line in Part 1 did you enter the creditor?   2.18
        Security National Mortgage
        MS 314771                                                                                  Last 4 digits of account number
        P.O. Box 24771
        Seattle, WA 98124-0771




Official Form 106D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                                     page 9 of 9
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 Fill in this information to identify your case:

 Debtor 1                   Anthony Wayne Salter
                            First Name                      Middle Name                       Last Name

 Debtor 2                   Mary Frances Salter
 (Spouse if, filing)        First Name                      Middle Name                       Last Name


 United States Bankruptcy Court for the:              SOUTHERN DISTRICT OF IOWA, WESTERN DIVISION

 Case number
 (if known)                                                                                                                                               Check if this is an
                                                                                                                                                          amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                     12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).
 Part 1:        List All of Your PRIORITY Unsecured Claims
 1.    Do any creditors have priority unsecured claims against you?

           No. Go to Part 2.
           Yes.
 Part 2:        List All of Your NONPRIORITY Unsecured Claims
 3.    Do any creditors have nonpriority unsecured claims against you?

           No. You have nothing to report in this part. Submit this form to the court with your other schedules.

           Yes.

 4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
       unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
       than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of
       Part 2.
                                                                                                                                                              Total claim

 4.1          American Express                                        Last 4 digits of account number         3008                                                      $47,327.86
              Nonpriority Creditor's Name
              P.O. Box 6550448                                        When was the debt incurred?
              Dallas, TX 75265-0448
              Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

                  Debtor 1 only                                           Contingent
                  Debtor 2 only                                           Unliquidated
                  Debtor 1 and Debtor 2 only                              Disputed
                  At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                  Student loans
              debt                                                       Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                         report as priority claims

                  No                                                      Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                     Other. Specify   Business Debt




Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                                  Page 1 of 12
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 Debtor 1 Anthony Wayne Salter
 Debtor 2 Mary Frances Salter                                                                             Case number (if know)

 4.2      American Express                                           Last 4 digits of account number       1001                                               $12,500.00
          Nonpriority Creditor's Name
          P.O. Box 6550448                                           When was the debt incurred?
          Dallas, TX 75265-0448
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Goods and Services


 4.3      Barclay                                                    Last 4 digits of account number       1292                                                 $9,359.00
          Nonpriority Creditor's Name
          P.O. Box 8801                                              When was the debt incurred?
          Wilmington, DE 19899-8801
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.4      Capital One                                                Last 4 digits of account number       1068                                                 $1,410.51
          Nonpriority Creditor's Name
          P.O. Box 30285                                             When was the debt incurred?
          Salt Lake City, UT 84130-0285
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Goods and Services




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                        Page 2 of 12
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 Debtor 1 Anthony Wayne Salter
 Debtor 2 Mary Frances Salter                                                                             Case number (if know)

 4.5      Chase Freedom                                              Last 4 digits of account number       9190                                                 $1,684.19
          Nonpriority Creditor's Name
          P.O .Box 15145                                             When was the debt incurred?
          Wilmington, DE 19850
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.6      Chase Ink                                                  Last 4 digits of account number       3864                                                 $6,905.04
          Nonpriority Creditor's Name
          P.O. Box 15145                                             When was the debt incurred?
          Wilmington, DE 19850
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.7      CNH                                                        Last 4 digits of account number       0913                                              $115,459.21
          Nonpriority Creditor's Name
          Productivity Plus Account                                  When was the debt incurred?
          P.O. Box 790449
          Saint Louis, MO 63179
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




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 Debtor 2 Mary Frances Salter                                                                             Case number (if know)

 4.8      Crop Production Services                                   Last 4 digits of account number       1008                                              $149,582.55
          Nonpriority Creditor's Name
          Wall Lake (Wholesale)                                      When was the debt incurred?
          P.O. Box 10
          Wall Lake, IA 51466
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.9      Cross Dillion Tire                                         Last 4 digits of account number                                                          $28,991.00
          Nonpriority Creditor's Name
          P.O. Box 81208                                             When was the debt incurred?
          Lincoln, NE 68501
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 0        Decision One                                               Last 4 digits of account number                                                            Unknown
          Nonpriority Creditor's Name
          7633 E. 63rd Pl., Ste. 300                                 When was the debt incurred?
          Tulsa, OK 74133
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




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 Debtor 2 Mary Frances Salter                                                                             Case number (if know)

 4.1
 1        Discover Financial Services                                Last 4 digits of account number                                                          $14,574.85
          Nonpriority Creditor's Name
          P.O. Box 30943                                             When was the debt incurred?
          Salt Lake City, UT 84130-0943
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 2        EFS Credit Trust                                           Last 4 digits of account number       3632                                               $13,900.00
          Nonpriority Creditor's Name
          50 Washington St., 10th Fl.                                When was the debt incurred?
          Norwalk, CT 06854
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt - Personal Guaranty


 4.1
 3        Fast Income Servicing                                      Last 4 digits of account number                                                            Unknown
          Nonpriority Creditor's Name
          1608 S. Ashland Ave. #35697                                When was the debt incurred?
          Chicago, IL 60608
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




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 Debtor 2 Mary Frances Salter                                                                             Case number (if know)

 4.1
 4        Forward Financing, LLC                                     Last 4 digits of account number       7FDS                                              $107,969.11
          Nonpriority Creditor's Name
          36 Bromfield Street, Ste. 210                              When was the debt incurred?           4/17/17
          Boston, MA 02108
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 5        Gawley Tire and Repair, Inc.                               Last 4 digits of account number                                                            $4,289.21
          Nonpriority Creditor's Name
          2139 Street F24                                            When was the debt incurred?
          Irwin, IA 51446
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 6        Halbur                                                     Last 4 digits of account number       LT01                                                 $8,397.77
          Nonpriority Creditor's Name
          115 E. 1st St.                                             When was the debt incurred?
          P.O. Box 31
          Halbur, IA 51444
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




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 Debtor 2 Mary Frances Salter                                                                             Case number (if know)

 4.1
 7        Heartland Ag                                               Last 4 digits of account number                                                          $17,649.41
          Nonpriority Creditor's Name
          P.O. Box 1070                                              When was the debt incurred?
          Ames, IA 50014
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 8        John Deere Financial                                       Last 4 digits of account number       1978                                              $475,374.83
          Nonpriority Creditor's Name
          P.O. Box 4450                                              When was the debt incurred?
          Carol Stream, IL 60197-4450
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 9        Linden Aerial Spraying                                     Last 4 digits of account number                                                          $43,211.00
          Nonpriority Creditor's Name
          18998 140th Street                                         When was the debt incurred?
          Whiting, IA 51063
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




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 Debtor 2 Mary Frances Salter                                                                             Case number (if know)

 4.2
 0        Merchant Cash and Capital, LLC                             Last 4 digits of account number                                                         $160,834.28
          Nonpriority Creditor's Name
          460 Park Avenue South, 10th Floor                          When was the debt incurred?           4/6/17
          New York, NY 10016
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 1        Mo. Valley Impl., Inc.                                     Last 4 digits of account number       2571                                                 Unknown
          Nonpriority Creditor's Name
          P.O. Box 430                                               When was the debt incurred?
          Missouri Valley, IA 51555
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2      Northland Capital Financial
 2        Services,LLC                                               Last 4 digits of account number                                                          $16,652.00
          Nonpriority Creditor's Name
          P.O. Box 7278                                              When was the debt incurred?
          Saint Cloud, MN 56302
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt - Personal Guaranty




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 Debtor 2 Mary Frances Salter                                                                             Case number (if know)

 4.2      Northland Capital Financial
 3        Services,LLC                                               Last 4 digits of account number       4002                                               $67,237.00
          Nonpriority Creditor's Name
          P.O. Box 7278                                              When was the debt incurred?
          Saint Cloud, MN 56302
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt - Personal Guaranty


 4.2      Northland Capital Financial
 4        Services,LLC                                               Last 4 digits of account number                                                          $35,056.00
          Nonpriority Creditor's Name
          P.O. Box 7278                                              When was the debt incurred?
          Saint Cloud, MN 56302
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt - Personal Guaranty


 4.2
 5        Rabo Agrifinance, LLC                                      Last 4 digits of account number       7298                                              $252,479.16
          Nonpriority Creditor's Name
          6919 Chancellor Drive                                      When was the debt incurred?
          Cedar Falls, IA 50613
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




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 Debtor 2 Mary Frances Salter                                                                             Case number (if know)

 4.2
 6        RCIS                                                       Last 4 digits of account number       9527;9531                                         $133,412.00
          Nonpriority Creditor's Name
          3501 Thurston Ave.                                         When was the debt incurred?
          Anoka, MN 55303
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 7        Syngenta Seeds, LLC                                        Last 4 digits of account number                                                         $499,326.00
          Nonpriority Creditor's Name
          13783 Collections Center Dr.                               When was the debt incurred?
          Chicago, IL 60693-0137
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 8        US Bank                                                    Last 4 digits of account number       1512                                               $10,090.17
          Nonpriority Creditor's Name
          Bankruptcy/Recovery Dept                                   When was the debt incurred?
          P.O. Box 5529
          Cincinnati, OH 45201
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




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 Debtor 2 Mary Frances Salter                                                                             Case number (if know)

 4.2
 9         US Bank                                                   Last 4 digits of account number       3204                                                      $2,222.36
           Nonpriority Creditor's Name
           Bankruptcy/Recovery Dept                                  When was the debt incurred?
           P.O. Box 5529
           Cincinnati, OH 45201
           Number Street City State ZIp Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                    Student loans
           debt                                                         Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Goods and Services

 Part 3:      List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.
 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Capital One Bank (USA), N.A.                                  Line 4.4 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 P.O. Box 6492                                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 Carol Stream, IL 60197-6492
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Northland Capital Financial Services                          Line 4.23 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 LLC                                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims
 333 33rd Ave. South
 Saint Cloud, MN 56301
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Rabo Agrifinance                                              Line 4.25 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 P.O. Box 410650                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 Saint Louis, MO 63141-0650
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 U.S. Bank                                                     Line 4.28 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 P.O. Box 790408                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 Saint Louis, MO 63179-0408
                                                               Last 4 digits of account number


 Part 4:      Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
   type of unsecured claim.

                                                                                                                                Total Claim
                        6a.   Domestic support obligations                                                  6a.       $                           0.00
        Total
      claims
  from Part 1           6b.   Taxes and certain other debts you owe the government                          6b.       $                           0.00
                        6c.   Claims for death or personal injury while you were intoxicated                6c.       $                           0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.       6d.       $                           0.00

                        6e.   Total Priority. Add lines 6a through 6d.                                      6e.       $                           0.00

                                                                                                                                Total Claim

Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                             Page 11 of 12
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                               Best Case Bankruptcy
           Case 18-00194-als11                         Doc 1          Filed 01/31/18 Entered 01/31/18 12:41:51                          Desc Main
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 Debtor 1 Anthony Wayne Salter
 Debtor 2 Mary Frances Salter                                                                        Case number (if know)

                        6f.   Student loans                                                           6f.      $                    0.00
        Total
      claims
  from Part 2           6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                   6g.      $                    0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts       6h.      $                    0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount    6i.
                              here.                                                                            $             2,235,894.51

                        6j.   Total Nonpriority. Add lines 6f through 6i.                             6j.      $             2,235,894.51




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 12 of 12
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                                                                     Document     Page 60 of 92
 Fill in this information to identify your case:

 Debtor 1                  Anthony Wayne Salter
                           First Name                         Middle Name            Last Name

 Debtor 2                  Mary Frances Salter
 (Spouse if, filing)       First Name                         Middle Name            Last Name


 United States Bankruptcy Court for the:               SOUTHERN DISTRICT OF IOWA, WESTERN DIVISION

 Case number
 (if known)                                                                                                                             Check if this is an
                                                                                                                                        amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                     12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1.     Do you have any executory contracts or unexpired leases?
         No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
              Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).

2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
       example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
       and unexpired leases.


           Person or company with whom you have the contract or lease                   State what the contract or lease is for
                           Name, Number, Street, City, State and ZIP Code

     2.1       Alan K. and Marlene A. Lomax, Trustees                                     Debtor is leasing 159 tillable acres for $270/acre
               c/o Joe Lally                                                              ($42,452) due 3/1/18.
               5415 143rd Ave. SE
               Bellevue, WA 98006

     2.2       Barb's 5, L.L.C.                                                           Debtor is leasing 120 tillable acres for $250/acre
               c/o Bill Bracker                                                           ($30,000) with $15,000 due 3/1/18 and $15,000 due
               226 S. 6th St.                                                             11/1/18.
               Council Bluffs, IA 51501

     2.3       Barb's 5, L.L.C.                                                           Debtor is leasing 182 tillable acres for $250/acre
               c/o Bill Bracker                                                           ($45,500) with $22,750 due 3/1/18 and $22,750 due
               226 S. 6th                                                                 11/1/18.
               Council Bluffs, IA 51501

     2.4       Bert Neilsen Jr.                                                           Debtor is leasing 80 tillable acres for $250/acre ($20,000)
               2653 Garland Ave.                                                          due 3/1/18.
               Modale, IA 51556

     2.5       C.W. Kellogg Farms                                                         Debtor is leasing 100 tillable acres for $202.50/acre
               2947 Eagle Ridge Dr.                                                       ($20,250) due 3/1/18.
               Missouri Valley, IA 51555

     2.6       Charles A. Salter                                                          Debtor is leasing 167 tillable acres for $225/acre
               16961 Poppleton Ave.                                                       ($37,575) due 3/1/18.
               Omaha, NE 68130

     2.7       Dart, Inc.                                                                 Debtor is leasing 2,522 tillable acres for $225/acre
               26057 South Ridge Road                                                     ($567,450) 3/1/18.
               Elwood, IL 60421



Official Form 106G                                 Schedule G: Executory Contracts and Unexpired Leases                                                 Page 1 of 4
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           Case 18-00194-als11                         Doc 1          Filed 01/31/18 Entered 01/31/18 12:41:51               Desc Main
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 Debtor 1       Anthony Wayne Salter
 Debtor 2       Mary Frances Salter                                                          Case number (if known)



            Additional Page if You Have More Contracts or Leases

         Person or company with whom you have the contract or lease                State what the contract or lease is for
                         Name, Number, Street, City, State and ZIP Code

   2.8      Fulton                                                                   Debtor is leasing 80 tillable acres for $275/acre ($22,000)
            c/o Famers National Co.                                                  due 3/1/18.
            11516 Nicholas St., #100
            Omaha, NE 68154

   2.9      Gary Deitering                                                           Debtor is leasing 40 tillable acres for $250/acre ($10,000)
            c/o Dean Jennings                                                        due 3/1/18.
            523 6th Avenue
            Council Bluffs, IA 51503

  2.10      George Whitmore                                                          Debtor is leasing 89 tillable acres for $268.82/acre
            14105 N. 47th                                                            ($23,925) 3/1/18.
            Omaha, NE 68152

  2.11      Jeanne R. McCallum                                                       Debtor is leasing 73.1 tillable acres for $300/acre
            5910 Morningside Ave.                                                    ($21,930) due 3/1/18.
            Sioux City, IA 51106

  2.12      Jim and Helen Young                                                      Debtor is leasing 169 tillable acres for $250/acre
            c/o Ed Spencer                                                           ($42,250) due 3/1/18.
            322 E. 7th St.
            Logan, IA 51546

  2.13      Jim Barta                                                                Debtor is leasing 326.8 tillable acres for $270/acre
            c/o Ed Spencer                                                           ($88,236) with $44,118 due 3/1/18 and $44,118 due
            322 E. 7th St.                                                           11/1/18.
            Logan, IA 51546

  2.14      Joan Tomlin                                                              Debtor is leasing 153 tillable acres for $215/acre
            9414 N. 87th                                                             ($32,937) due 3/1/18.
            Scottsdale, AZ 85258

  2.15      John Vana                                                                Debtor is leasing 71 tillable acres for $250/acre ($17,750)
            10301 240th St.                                                          due 3/1/18.
            Council Bluffs, IA 51503

  2.16      Joseph P. Sandbothe Trust & Jeanette C.                                  Debtor is leasing 118 tillable acres for $300/acre
             Sandbothe Family Trust                                                  ($35,400) due 3/1/18.
            1120 Simms Ave.
            Council Bluffs, IA 51503

  2.17      Joy Leaders                                                              Debtor is leasing 130 tillable acres for $275/acre
            13002 S. 60th St.                                                        ($35,750) due 3/1/18.
            Papillion, NE 68133

  2.18      Joyce Grable                                                             Debtor is leasing 150 tillable acres for $200/acre
            11758 County Road 38                                                     ($30,000) due 3/1/18.
            Blair, NE 68008




Official Form 106G                               Schedule G: Executory Contracts and Unexpired Leases                                      Page 2 of 4
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           Case 18-00194-als11                         Doc 1          Filed 01/31/18 Entered 01/31/18 12:41:51               Desc Main
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 Debtor 1       Anthony Wayne Salter
 Debtor 2       Mary Frances Salter                                                          Case number (if known)



            Additional Page if You Have More Contracts or Leases

       Person or company with whom you have the contract or lease                  State what the contract or lease is for
                         Name, Number, Street, City, State and ZIP Code

  2.19      Klauser Trust LLC                                                        Debtor is leasing 168 tillable acres for $250/acre
            c/o Herbert M. Sampson III                                               ($42,000) due 3/1/18.
            633 Park River Place
            Estes Park, CO 80517

  2.20      Loutomco, Inc.                                                           Debtor is leasing 116 tillable acres for $275/acre
            c/o Roger Leaders                                                        ($31,900) due 3/1/18.
            13002 S. 60th St.
            Papillion, NE 68133

  2.21      Marcella Deschamp                                                        Debtor is leasing 230 tillable acres for $270/acre
            363-acc 821 Lucy Dr.                                                     ($62,100) due 3/1/18.
            Alamo, TX 78516

  2.22      Plum Investments                                                         Debtor is leasing 955 tillable acres for $270/acre
            Doug Goracke                                                             ($257,850) due 3/1/18.
            2016 Commerce Dr.
            Red Oak, IA 51566

  2.23      Rick and Connie Volz                                                     Debtor is leasing 163.97 tillable acres for $200/acre
            c/o Agri Valley Management                                               ($32,794) due 3/1/18.
            P.O. Box 180
            Mineola, IA 51554

  2.24      Robert Deitering                                                         Debtor is leasing 256 tillable acres for $250/acre
            c/o Dean Jennings                                                        ($64,000) with $32,000 due 3/1/18 and $32,000 due
            523 6th Avenue                                                           11/1/18.
            Council Bluffs, IA 51503

  2.25      Robert E. and Sally J. Ambrose Family                                    Debtor is leasing 937 tillable acres for $170/acre
             Limited Partnership                                                     ($159,290) due 3/15/18.
            182 Ambrose Road
            Stahlstown, PA 15687

  2.26      Robert E. Sweeney                                                        Debtor is leasing 160 tillable acres for $205.63/acre
            c/o Hertz Farm Management                                                ($32,900) due 3/1/18.
            11717 M Circle
            Omaha, NE 68137

  2.27      Rocking K Ranch, LLC                                                     Debtor is leasing 326 tillable acres for $280/acre
            12029 No. 123rd Way                                                      ($91,280) due 3/15/18.
            Scottsdale, AZ 85259

  2.28      Roger Leaders                                                            Debtor is leasing 120 tillable acres for $275/acre
            13002 S. 60th St.                                                        ($33,000) due 3/1/18.
            Papillion, NE 68133

  2.29      Rumsey Trust                                                             Debtor is leasing 112 tillable acres for $200/acre
            c/o Farmers National Co.                                                 ($22,400) due 3/1/18.
            11516 Nicholas St., #100
            Omaha, NE 68154



Official Form 106G                               Schedule G: Executory Contracts and Unexpired Leases                                     Page 3 of 4
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 Debtor 1       Anthony Wayne Salter
 Debtor 2       Mary Frances Salter                                                          Case number (if known)



            Additional Page if You Have More Contracts or Leases

       Person or company with whom you have the contract or lease                  State what the contract or lease is for
                         Name, Number, Street, City, State and ZIP Code

  2.30      Ted Vatnsdal                                                             Debtor is leasing 307 tillable acres for $250/acre
            11784 Wedgeport Ln.                                                      ($76,750) due 3/1/18.
            Fishers, IN 46037

  2.31      The James E. B. Stuart Living Trust                                      Debtor is leasing 80 tillable acres for $225/acre ($18,000)
            c/o Robert C. Stuart                                                     due 3/1/18.
            7967 Ponderosa Dr.
            Papillion, NE 68046

  2.32      TNT2000, LLC                                                             Debtor is leasing 457 tillable acres for $260/acre
            c/o Hertz Farm Management, Inc.                                          ($118,820) with $59,410 due 3/1/18 and $59,410 due
            11717 M Cir.                                                             11/1/18.
            Omaha, NE 68137




Official Form 106G                               Schedule G: Executory Contracts and Unexpired Leases                                     Page 4 of 4
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              Case 18-00194-als11                          Doc 1        Filed 01/31/18 Entered 01/31/18 12:41:51               Desc Main
                                                                       Document     Page 64 of 92
 Fill in this information to identify your case:

 Debtor 1                   Anthony Wayne Salter
                            First Name                           Middle Name        Last Name

 Debtor 2                   Mary Frances Salter
 (Spouse if, filing)        First Name                           Middle Name        Last Name


 United States Bankruptcy Court for the:                 SOUTHERN DISTRICT OF IOWA, WESTERN DIVISION

 Case number
 (if known)                                                                                                                   Check if this is an
                                                                                                                              amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                    12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.

       1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

           No
           Yes

       2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
       Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

           No. Go to line 3.
           Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?


   3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
      in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
      Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill
      out Column 2.

                Column 1: Your codebtor                                                             Column 2: The creditor to whom you owe the debt
                Name, Number, Street, City, State and ZIP Code                                      Check all schedules that apply:


    3.1         Salter Farms, LLC                                                                     Schedule D, line
                1776 250th St.                                                                        Schedule E/F, line   4.23
                Modale, IA 51556
                                                                                                      Schedule G
                                                                                                    Northland Capital Financial Services,LLC



    3.2         Salter Farms, LLC                                                                     Schedule D, line
                1776 250th St.                                                                        Schedule E/F, line    4.12
                Modale, IA 51556
                                                                                                      Schedule G
                                                                                                    EFS Credit Trust



    3.3         Salter Farms, LLC                                                                     Schedule D, line
                1776 250th St.                                                                        Schedule E/F, line  4.13
                Modale, IA 51556
                                                                                                      Schedule G
                                                                                                    Fast Income Servicing




Official Form 106H                                                              Schedule H: Your Codebtors                                 Page 1 of 2
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              Anthony Wayne Salter
 Debtor 1 Mary Frances Salter                                                                Case number (if known)


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                              Column 2: The creditor to whom you owe the debt
                                                                                                  Check all schedules that apply:
    3.4      Salter Farms, LLC                                                                      Schedule D, line
             1776 250th St.                                                                         Schedule E/F, line   4.22
             Modale, IA 51556
                                                                                                    Schedule G
                                                                                                  Northland Capital Financial Services,LLC



    3.5      Salter Farms, LLC                                                                      Schedule D, line
             1776 250th St.                                                                         Schedule E/F, line   4.24
             Modale, IA 51556
                                                                                                    Schedule G
                                                                                                  Northland Capital Financial Services,LLC



    3.6      Salter Farms, LLC                                                                      Schedule D, line
             1776 250th St.                                                                         Schedule E/F, line    4.28
             Modale, IA 51556
                                                                                                    Schedule G
                                                                                                  US Bank




Official Form 106H                                                            Schedule H: Your Codebtors                                Page 2 of 2
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             Case 18-00194-als11                  Doc 1    Filed 01/31/18 Entered 01/31/18 12:41:51                                Desc Main
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Fill in this information to identify your case:

Debtor 1                      Anthony Wayne Salter

Debtor 2                      Mary Frances Salter
(Spouse, if filing)

United States Bankruptcy Court for the:       SOUTHERN DISTRICT OF IOWA, WESTERN
                                              DIVISION

Case number                                                                                              Check if this is:
(If known)
                                                                                                            An amended filing
                                                                                                            A supplement showing postpetition chapter
                                                                                                            13 income as of the following date:

Official Form 106I                                                                                          MM / DD/ YYYY
Schedule I: Your Income                                                                                                                            12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                Debtor 1                                   Debtor 2 or non-filing spouse

       If you have more than one job,                                 Employed                                   Employed
       attach a separate page with           Employment status
       information about additional                                   Not employed                               Not employed
       employers.
                                             Occupation            Farmer                                     LNP
       Include part-time, seasonal, or
       self-employed work.                   Employer's name       Self-Employed                              Department of Veterans Affairs

       Occupation may include student        Employer's address
                                                                   1776 250th St.                             4101 Woolworth Ave.
       or homemaker, if it applies.
                                                                   Modale, IA 51556                           Omaha, NE 68105

                                             How long employed there?         40 years                                  16 years

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

                                                                                                       For Debtor 1       For Debtor 2 or
                                                                                                                          non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.          2.     $             0.00     $          7,285.79

3.     Estimate and list monthly overtime pay.                                              3.    +$             0.00     +$             0.00

4.     Calculate gross Income. Add line 2 + line 3.                                         4.     $          0.00            $    7,285.79




Official Form 106I                                                      Schedule I: Your Income                                                  page 1
            Case 18-00194-als11              Doc 1     Filed 01/31/18 Entered 01/31/18 12:41:51                                     Desc Main
                                                      Document     Page 67 of 92

Debtor 1    Anthony Wayne Salter
Debtor 2    Mary Frances Salter                                                                   Case number (if known)



                                                                                                      For Debtor 1            For Debtor 2 or
                                                                                                                              non-filing spouse
      Copy line 4 here                                                                     4.         $              0.00     $         7,285.79

5.    List all payroll deductions:
      5a.    Tax, Medicare, and Social Security deductions                                 5a.        $              0.00     $        1,320.54
      5b.    Mandatory contributions for retirement plans                                  5b.        $              0.00     $          786.56
      5c.    Voluntary contributions for retirement plans                                  5c.        $              0.00     $            0.00
      5d.    Required repayments of retirement fund loans                                  5d.        $              0.00     $            0.00
      5e.    Insurance                                                                     5e.        $              0.00     $          797.18
      5f.    Domestic support obligations                                                  5f.        $              0.00     $            0.00
      5g.    Union dues                                                                    5g.        $              0.00     $           27.08
      5h.    Other deductions. Specify:                                                    5h.+       $              0.00 +   $            0.00
6.    Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       6.     $                  0.00     $        2,931.36
7.    Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.     $                  0.00     $        4,354.43
8.    List all other income regularly received:
      8a. Net income from rental property and from operating a business,
             profession, or farm
             Attach a statement for each property and business showing gross
             receipts, ordinary and necessary business expenses, and the total
             monthly net income.                                                           8a.        $      14,000.00        $               0.00
      8b. Interest and dividends                                                           8b.        $           0.00        $               0.00
      8c. Family support payments that you, a non-filing spouse, or a dependent
             regularly receive
             Include alimony, spousal support, child support, maintenance, divorce
             settlement, and property settlement.                                          8c.        $              0.00     $               0.00
      8d. Unemployment compensation                                                        8d.        $              0.00     $               0.00
      8e. Social Security                                                                  8e.        $              0.00     $               0.00
      8f.    Other government assistance that you regularly receive
             Include cash assistance and the value (if known) of any non-cash assistance
             that you receive, such as food stamps (benefits under the Supplemental
             Nutrition Assistance Program) or housing subsidies.
             Specify:                                                                      8f.  $                    0.00   $                 0.00
      8g. Pension or retirement income                                                     8g. $                     0.00   $                 0.00
      8h. Other monthly income. Specify:                                                   8h.+ $                    0.00 + $                 0.00

9.    Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9.     $          14,000.00        $                0.00

10. Calculate monthly income. Add line 7 + line 9.                                     10. $              14,000.00 + $        4,354.43 = $          18,354.43
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                  11. +$                      0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
    applies                                                                                                                         12.   $          18,354.43
                                                                                                                                          Combined
                                                                                                                                          monthly income
13. Do you expect an increase or decrease within the year after you file this form?
          No.
          Yes. Explain: Debtor 2 also works part-time as an adjunct professor at Bellevue University. However, she does
                             not entered into any agreements to teach yet in 2018.




Official Form 106I                                                     Schedule I: Your Income                                                         page 2
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Fill in this information to identify your case:

Debtor 1                 Anthony Wayne Salter                                                              Check if this is:
                                                                                                               An amended filing
Debtor 2                 Mary Frances Salter                                                                   A supplement showing postpetition chapter
(Spouse, if filing)                                                                                            13 expenses as of the following date:

United States Bankruptcy Court for the:   SOUTHERN DISTRICT OF IOWA, WESTERN                                         MM / DD / YYYY
                                          DIVISION

Case number
(If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                                12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
           No. Go to line 2.
           Yes. Does Debtor 2 live in a separate household?

                      No
                      Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2.    Do you have dependents?               No
      Do not list Debtor 1 and              Yes.   Fill out this information for   Dependent’s relationship to          Dependent’s    Does dependent
      Debtor 2.                                    each dependent..............    Debtor 1 or Debtor 2                 age            live with you?

      Do not state the                                                                                                                      No
      dependents names.                                                                                                                     Yes
                                                                                                                                            No
                                                                                                                                            Yes
                                                                                                                                            No
                                                                                                                                            Yes
                                                                                                                                            No
                                                                                                                                            Yes
3.    Do your expenses include                     No
      expenses of people other than
      yourself and your dependents?                Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                       Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                          4. $                                  0.00

      If not included in line 4:

      4a. Real estate taxes                                                                               4a.    $                          2,183.00
      4b. Property, homeowner’s, or renter’s insurance                                                    4b.    $                             51.00
      4c. Home maintenance, repair, and upkeep expenses                                                   4c.    $                            150.00
      4d. Homeowner’s association or condominium dues                                                     4d.    $                          1,220.00
5.    Additional mortgage payments for your residence, such as home equity loans                           5.    $                              0.00



Official Form 106J                                                   Schedule J: Your Expenses                                                           page 1
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                                                           Document     Page 69 of 92

Debtor 1     Anthony Wayne Salter
Debtor 2     Mary Frances Salter                                                                       Case number (if known)

6.    Utilities:
      6a. Electricity, heat, natural gas                                                     6a. $                                                 300.00
      6b. Water, sewer, garbage collection                                                   6b. $                                                 100.00
      6c. Telephone, cell phone, Internet, satellite, and cable services                     6c. $                                                 650.00
      6d. Other. Specify:                                                                    6d. $                                                   0.00
7.    Food and housekeeping supplies                                                           7. $                                                800.00
8.    Childcare and children’s education costs                                                 8. $                                                  0.00
9.    Clothing, laundry, and dry cleaning                                                      9. $                                                200.00
10.   Personal care products and services                                                    10. $                                                  50.00
11.   Medical and dental expenses                                                            11. $                                                   0.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                           12. $                                                 800.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                     13. $                                                  50.00
14.   Charitable contributions and religious donations                                       14. $                                                   0.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                  15a. $                                                 715.00
      15b. Health insurance                                                                15b. $                                                   0.00
      15c. Vehicle insurance                                                               15c. $                                                 207.00
      15d. Other insurance. Specify: Farm and Workers' Compensation                        15d. $                                               7,109.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                               16. $                                                    0.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                      17a. $                                                  709.00
      17b. Car payments for Vehicle 2                                                      17b. $                                                    0.00
      17c. Other. Specify:                                                                 17c. $                                                    0.00
      17d. Other. Specify:                                                                 17d. $                                                    0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).        18. $                                                    0.00
19.   Other payments you make to support others who do not live with you.                         $                                                   0.00
      Specify:                                                                               19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                     20a. $                                               3,322.86
      20b. Real estate taxes                                                               20b. $                                                   0.00
      20c. Property, homeowner’s, or renter’s insurance                                    20c. $                                                   0.00
      20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                   0.00
      20e. Homeowner’s association or condominium dues                                     20e. $                                                   0.00
21.   Other: Specify:                                                                        21. +$                                                 0.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                     $                      18,616.86
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                             $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                $                      18,616.86
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                      23a. $                              18,354.43
    23b. Copy your monthly expenses from line 22c above.                                                   23b. -$                             18,616.86

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                           23c. $                                -262.43

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
         No.
         Yes.             Explain here:




Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 2
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 Fill in this information to identify your case:

 Debtor 1                    Anthony Wayne Salter
                             First Name                     Middle Name             Last Name

 Debtor 2                    Mary Frances Salter
 (Spouse if, filing)         First Name                     Middle Name             Last Name


 United States Bankruptcy Court for the:              SOUTHERN DISTRICT OF IOWA, WESTERN DIVISION

 Case number
 (if known)                                                                                                                           Check if this is an
                                                                                                                                      amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                          12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                       Sign Below


        Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

                No

                Yes. Name of person                                                                             Attach Bankruptcy Petition Preparer’s Notice,
                                                                                                                Declaration, and Signature (Official Form 119)


       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.

        X /s/ Anthony Wayne Salter                                                  X   /s/ Mary Frances Salter
              Anthony Wayne Salter                                                      Mary Frances Salter
              Signature of Debtor 1                                                     Signature of Debtor 2

              Date       January 31, 2018                                               Date    January 31, 2018




Official Form 106Dec                                       Declaration About an Individual Debtor's Schedules
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 Fill in this information to identify your case:

 Debtor 1                  Anthony Wayne Salter
                           First Name                       Middle Name                  Last Name

 Debtor 2                  Mary Frances Salter
 (Spouse if, filing)       First Name                       Middle Name                  Last Name


 United States Bankruptcy Court for the:              SOUTHERN DISTRICT OF IOWA, WESTERN DIVISION

 Case number
 (if known)                                                                                                                                  Check if this is an
                                                                                                                                             amended filing



Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                                4/16
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

 Part 1:        Give Details About Your Marital Status and Where You Lived Before

1.     What is your current marital status?

               Married
               Not married

2.     During the last 3 years, have you lived anywhere other than where you live now?

               No
               Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

        Debtor 1 Prior Address:                                  Dates Debtor 1             Debtor 2 Prior Address:                              Dates Debtor 2
                                                                 lived there                                                                     lived there

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

               No
               Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

 Part 2         Explain the Sources of Your Income

4.     Did you have any income from employment or from operating a business during this year or the two previous calendar years?
       Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
       If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

               No
               Yes. Fill in the details.

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income             Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.         (before deductions
                                                                                    exclusions)                                                  and exclusions)

 For the calendar year before that:                  Wages, commissions,                    $7,150,103.00             Wages, commissions,                $66,558.00
 (January 1 to December 31, 2016 )                 bonuses, tips                                                   bonuses, tips
                                                       Operating a business                                           Operating a business




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 Debtor 1      Anthony Wayne Salter
 Debtor 2      Mary Frances Salter                                                                         Case number (if known)


5.    Did you receive any other income during this year or the two previous calendar years?
      Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
      and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
      winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

      List each source and the gross income from each source separately. Do not include income that you listed in line 4.

            No
            Yes. Fill in the details.

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income from              Sources of income            Gross income
                                                   Describe below.                  each source                    Describe below.              (before deductions
                                                                                    (before deductions and                                      and exclusions)
                                                                                    exclusions)
 For last calendar year:                           2016 Federal ($740)                            $1,693.00
 (January 1 to December 31, 2017 )                 and NE ($953) Tax
                                                   Refunds

 For the calendar year before that:                Interest / Dividends                               $41.00
 (January 1 to December 31, 2016 )


 Part 3:      List Certain Payments You Made Before You Filed for Bankruptcy

6.    Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?
            No.     Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
                    individual primarily for a personal, family, or household purpose.”

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,425* or more?
                          No.      Go to line 7.
                          Yes    List below each creditor to whom you paid a total of $6,425* or more in one or more payments and the total amount you
                                 paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                                 not include payments to an attorney for this bankruptcy case.
                     * Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.

            Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                 During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                          No.      Go to line 7.
                          Yes      List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
                                   include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an
                                   attorney for this bankruptcy case.


       Creditor's Name and Address                               Dates of payment            Total amount          Amount you       Was this payment for ...
                                                                                                     paid            still owe
       Treynor State Bank                                        12/2017                     $615,000.00         $5,547,956.1          Mortgage
       15 E. Main St.                                                                                                       4          Car
       P.O. Box A
                                                                                                                                       Credit Card
       Treynor, IA 51575
                                                                                                                                       Loan Repayment
                                                                                                                                       Suppliers or vendors
                                                                                                                                       Other


       Agrifund, LLC                                             Debtor has been                Unknown          $1,700,000.0          Mortgage
       1720 23rd St.                                             paying Agrifund                                            0          Car
       Fremont, NE 68025                                         from the sale of                                                      Credit Card
                                                                 his grain as they                                                     Loan Repayment
                                                                 are the first
                                                                 lienholder.                                                           Suppliers or vendors
                                                                                                                                       Other




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 Debtor 2      Mary Frances Salter                                                                         Case number (if known)


       Creditor's Name and Address                               Dates of payment            Total amount          Amount you       Was this payment for ...
                                                                                                     paid            still owe
       Jim Barta                                                 11/15/17                     $44,118.00                  $0.00       Mortgage
       c/o Ed Spencer                                                                                                                 Car
       322 E. 7th St.                                                                                                                 Credit Card
       Logan, IA 51546                                                                                                                Loan Repayment
                                                                                                                                      Suppliers or vendors
                                                                                                                                      Other Cash rent


       Barb's 5, L.L.C.                                          11/21/17                     $37,750.00                  $0.00       Mortgage
       c/o Bill Bracker                                                                                                               Car
       226 S. 6th                                                                                                                     Credit Card
       Council Bluffs, IA 51501                                                                                                       Loan Repayment
                                                                                                                                      Suppliers or vendors
                                                                                                                                      Other Cash rent


       Heartland Credit Company LLC                              11/21/17                    $328,124.46          $500,000.00         Mortgage
       2829 Westown Parkway, #350                                                                                                     Car
       West Des Moines, IA 50266                                                                                                      Credit Card
                                                                                                                                      Loan Repayment
                                                                                                                                      Suppliers or vendors
                                                                                                                                      Other


       John Deere Financial                                      10/17/17, 11/11/17,          $12,541.00          $475,374.83         Mortgage
       P.O. Box 4450                                             11/21/17, 1/30/18                                                    Car
       Carol Stream, IL 60197-4450                                                                                                    Credit Card
                                                                                                                                      Loan Repayment
                                                                                                                                      Suppliers or vendors
                                                                                                                                      Other


       CNH                                                       11/21/17, 1/30/18            $21,383.00          $115,459.21         Mortgage
       Productivity Plus Account                                                                                                      Car
       P.O. Box 790449                                                                                                                Credit Card
       Saint Louis, MO 63179
                                                                                                                                      Loan Repayment
                                                                                                                                      Suppliers or vendors
                                                                                                                                      Other


7.    Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
      Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations
      of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for
      a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and
      alimony.

            No
            Yes. List all payments to an insider.
       Insider's Name and Address                                Dates of payment            Total amount          Amount you       Reason for this payment
                                                                                                     paid            still owe

8.    Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
      insider?
      Include payments on debts guaranteed or cosigned by an insider.

            No
            Yes. List all payments to an insider
       Insider's Name and Address                                Dates of payment            Total amount          Amount you       Reason for this payment
                                                                                                     paid            still owe      Include creditor's name


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 Debtor 2      Mary Frances Salter                                                                         Case number (if known)


 Part 4:      Identify Legal Actions, Repossessions, and Foreclosures

9.    Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
      List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
      modifications, and contract disputes.

            No
            Yes. Fill in the details.
       Case title                                                Nature of the case         Court or agency                          Status of the case
       Case number
       Treynor State Bank v. Salter                              Replevin                   Iowa District Court for                     Pending
       Farms, LLC, Anthony Wayne                                                            Harrison County                             On appeal
       Salter, Mary Frances Salter                                                          111 N. 2nd Ave.
                                                                                                                                        Concluded
       04431 EQCV030349                                                                     Martin, PA 15460

       Ideker Farms, Inc., et al v. United                       Violations of              U.S. Court of Federal                       Pending
       States of America                                         Takings Clause of          Claims                                      On appeal
       14-183L                                                   5th Amendment              Howard T. Markey National
                                                                                                                                        Concluded
                                                                                            Courts Bldg
                                                                                            717 Madison Place NW
                                                                                            Washington, DC 20439

       Forward Financing, LLC v. Salter                          Collection                 U.S. District Court for the                 Pending
       Farms and Anthony Salter                                                             District of                                 On appeal
       1:17-CV-11567-FDS                                                                    Massachusetts
                                                                                                                                        Concluded
                                                                                            1 Courthouse Way
                                                                                            Boston, MA 02210


10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
    Check all that apply and fill in the details below.

            No. Go to line 11.
            Yes. Fill in the information below.
       Creditor Name and Address                                 Describe the Property                                        Date                        Value of the
                                                                                                                                                             property
                                                                 Explain what happened

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
    accounts or refuse to make a payment because you owed a debt?
            No
            Yes. Fill in the details.
       Creditor Name and Address                                 Describe the action the creditor took                        Date action was                Amount
                                                                                                                              taken

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
    court-appointed receiver, a custodian, or another official?

            No
            Yes

 Part 5:      List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
            No
            Yes. Fill in the details for each gift.
       Gifts with a total value of more than $600                     Describe the gifts                                      Dates you gave                    Value
       per person                                                                                                             the gifts

       Person to Whom You Gave the Gift and
       Address:



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 Debtor 2      Mary Frances Salter                                                                         Case number (if known)


14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
            No
            Yes. Fill in the details for each gift or contribution.
       Gifts or contributions to charities that total                 Describe what you contributed                           Dates you                         Value
       more than $600                                                                                                         contributed
       Charity's Name
       Address (Number, Street, City, State and ZIP Code)

 Part 6:      List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
    or gambling?

            No
            Yes. Fill in the details.
       Describe the property you lost and                   Describe any insurance coverage for the loss                      Date of your         Value of property
       how the loss occurred                                Include the amount that insurance has paid. List pending          loss                              lost
                                                            insurance claims on line 33 of Schedule A/B: Property.

 Part 7:      List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
    consulted about seeking bankruptcy or preparing a bankruptcy petition?
    Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

            No
            Yes. Fill in the details.
       Person Who Was Paid                                            Description and value of any property                   Date payment                Amount of
       Address                                                        transferred                                             or transfer was              payment
       Email or website address                                                                                               made
       Person Who Made the Payment, if Not You
       Credit Advisors                                                Money                                                   12/21/17                        $25.00
       1818 South 72nd Street
       Omaha, NE 68124-1704


       Telpner Peterson Law Firm, LLP                                 Debtors paid Telpner Peterson a                         1/5/18, 1/15/18           $25,000.00
       25 Main Place, Suite 200                                       $25,000 retainer for Chapter 11
       P.O. Box 248                                                   bankruptcy services.
       Council Bluffs, IA 51502-0248                                  $11,353.75 Attorney Fees prior to filing
       nhughes@telpnerlaw.com                                         $1,717 Filing Fee
                                                                      Telpner Peterson is still holding
                                                                      $11,929.25 in its trust account.


17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
    promised to help you deal with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16.

            No
            Yes. Fill in the details.
       Person Who Was Paid                                            Description and value of any property                   Date payment                Amount of
       Address                                                        transferred                                             or transfer was              payment
                                                                                                                              made
       Gail Murphy                                                    Money                                                   2017                      $20,000.00
       Equity Financial Resources, Inc.
       6317 N.E. Antioch Rd., Ste. 104
       Kansas City, MO 64119




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       Person Who Was Paid                                            Description and value of any property                   Date payment                 Amount of
       Address                                                        transferred                                             or transfer was               payment
                                                                                                                              made
       Salvo, Deren, Schenck, Gross, Swain                            Money                                                   2017                         $3,800.00
       & Argotsinger, P.C.
       711 Court Street
       Harlan, IA 51537

       Koley Jessen, P.C., L.L.O.                                     Money                                                   2017                         $5,000.00
       One Pacific Place, Ste. 800
       1125 South 103rd Street
       Omaha, NE 68124

       Decision One                                                   Money                                                   2017                         Unknown
       7633 E. 63rd Pl., Ste. 300
       Tulsa, OK 74133


18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
    transferred in the ordinary course of your business or financial affairs?
    Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
    include gifts and transfers that you have already listed on this statement.
         No
            Yes. Fill in the details.
       Person Who Received Transfer                                   Description and value of                  Describe any property or          Date transfer was
       Address                                                        property transferred                      payments received or debts        made
                                                                                                                paid in exchange
       Person's relationship to you
       .                                                              Debtors transferred a 2015                                                  2017
                                                                      Lexus for the 2017 Lexus
                                                                      RX450h
       None

       .                                                              Debtor sold a 1989                        $5,000                            12/2016
                                                                      Freightliner.

       None

       .                                                              Debtor sold an IH 5488 MFD                $25,000                           6/2017
                                                                      Tractor.

       None


19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
    beneficiary? (These are often called asset-protection devices.)
            No
            Yes. Fill in the details.
       Name of trust                                                  Description and value of the property transferred                           Date Transfer was
                                                                                                                                                  made

 Part 8:       List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
    sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
    houses, pension funds, cooperatives, associations, and other financial institutions.
         No
            Yes. Fill in the details.
       Name of Financial Institution and                         Last 4 digits of          Type of account or           Date account was               Last balance
       Address (Number, Street, City, State and ZIP              account number            instrument                   closed, sold,              before closing or
       Code)                                                                                                            moved, or                           transfer
                                                                                                                        transferred

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 Debtor 2      Mary Frances Salter                                                                           Case number (if known)


       Name of Financial Institution and                         Last 4 digits of              Type of account or       Date account was          Last balance
       Address (Number, Street, City, State and ZIP              account number                instrument               closed, sold,         before closing or
       Code)                                                                                                            moved, or                      transfer
                                                                                                                        transferred
       Midstate Bank                                             XXXX-                             Checking             1/2018                             $0.00
       321 E. Erie St.                                                                             Savings
       Missouri Valley, IA 51555
                                                                                                   Money Market
                                                                                                   Brokerage
                                                                                                   Other


21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
    cash, or other valuables?

            No
            Yes. Fill in the details.
       Name of Financial Institution                                  Who else had access to it?             Describe the contents             Do you still
       Address (Number, Street, City, State and ZIP Code)             Address (Number, Street, City,                                           have it?
                                                                      State and ZIP Code)

       Midstates Bank                                                 Debtor                                 Insurance Documents, Coin            No
       321 E. Erie St.                                                                                       Collection, Gold Watch               Yes
       Missouri Valley, IA 51555


22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

            No
            Yes. Fill in the details.
       Name of Storage Facility                                       Who else has or had access             Describe the contents             Do you still
       Address (Number, Street, City, State and ZIP Code)             to it?                                                                   have it?
                                                                      Address (Number, Street, City,
                                                                      State and ZIP Code)

 Part 9:       Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust
    for someone.

            No
            Yes. Fill in the details.
       Owner's Name                                                   Where is the property?                 Describe the property                         Value
       Address (Number, Street, City, State and ZIP Code)             (Number, Street, City, State and ZIP
                                                                      Code)

 Part 10:      Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

      Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
      toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or
      regulations controlling the cleanup of these substances, wastes, or material.
      Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
      to own, operate, or utilize it, including disposal sites.
      Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
      hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                   page 7
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 Debtor 1      Anthony Wayne Salter
 Debtor 2      Mary Frances Salter                                                                               Case number (if known)


24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

            No
            Yes. Fill in the details.
       Name of site                                                   Governmental unit                             Environmental law, if you         Date of notice
       Address (Number, Street, City, State and ZIP Code)             Address (Number, Street, City, State and      know it
                                                                      ZIP Code)

25. Have you notified any governmental unit of any release of hazardous material?

            No
            Yes. Fill in the details.
       Name of site                                                   Governmental unit                             Environmental law, if you         Date of notice
       Address (Number, Street, City, State and ZIP Code)             Address (Number, Street, City, State and      know it
                                                                      ZIP Code)

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No
            Yes. Fill in the details.
       Case Title                                                     Court or agency                            Nature of the case                   Status of the
       Case Number                                                    Name                                                                            case
                                                                      Address (Number, Street, City,
                                                                      State and ZIP Code)

 Part 11:     Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
                 A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time

                 A member of a limited liability company (LLC) or limited liability partnership (LLP)

                 A partner in a partnership

                 An officer, director, or managing executive of a corporation

                 An owner of at least 5% of the voting or equity securities of a corporation

            No. None of the above applies. Go to Part 12.

            Yes. Check all that apply above and fill in the details below for each business.
       Business Name                                             Describe the nature of the business                  Employer Identification number
       Address                                                                                                        Do not include Social Security number or ITIN.
       (Number, Street, City, State and ZIP Code)                Name of accountant or bookkeeper
                                                                                                                      Dates business existed
       Salter Farms, LLC                                         Vehicle Ownership                                    EIN:       XX-XXXXXXX
       1776 250th St.
       Modale, IA 51556                                          Hilary J. Moores                                     From-To    1/16/11-present
                                                                 416 Walker St.
                                                                 Woodbine, IA 51579


28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
    institutions, creditors, or other parties.

            No
            Yes. Fill in the details below.
       Name                                                      Date Issued
       Address
       (Number, Street, City, State and ZIP Code)

       Various                                                   Debtors have given various
                                                                 financial institutions financial
                                                                 statements for the purpose of
                                                                 obtaining operating loans and
                                                                 refinancing exisiting debt.

Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                         page 8
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 Debtor 1      Anthony Wayne Salter
 Debtor 2      Mary Frances Salter                                                                         Case number (if known)



 Part 12:     Sign Below

I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers
are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

 /s/ Anthony Wayne Salter                                                /s/ Mary Frances Salter
 Anthony Wayne Salter                                                    Mary Frances Salter
 Signature of Debtor 1                                                   Signature of Debtor 2

 Date     January 31, 2018                                               Date     January 31, 2018

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
   No
   Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
   No
   Yes. Name of Person                 . Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                              page 9
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Notice Required by 11 U.S.C. § 342(b) for
Individuals Filing for Bankruptcy (Form 2010)


                                                                                          Chapter 7:         Liquidation
 This notice is for you if:
                                                                                                  $245      filing fee
        You are an individual filing for bankruptcy,
        and                                                                                        $75      administrative fee

        Your debts are primarily consumer debts.                                          +        $15      trustee surcharge
        Consumer debts are defined in 11 U.S.C.
        § 101(8) as “incurred by an individual                                                    $335      total fee
        primarily for a personal, family, or
        household purpose.”                                                               Chapter 7 is for individuals who have financial
                                                                                          difficulty preventing them from paying their debts
                                                                                          and who are willing to allow their nonexempt
 The types of bankruptcy that are available to                                            property to be used to pay their creditors. The
 individuals                                                                              primary purpose of filing under chapter 7 is to have
                                                                                          your debts discharged. The bankruptcy discharge
 Individuals who meet the qualifications may file under                                   relieves you after bankruptcy from having to pay
 one of four different chapters of Bankruptcy Code:                                       many of your pre-bankruptcy debts. Exceptions exist
                                                                                          for particular debts, and liens on property may still
        Chapter 7 - Liquidation                                                           be enforced after discharge. For example, a creditor
                                                                                          may have the right to foreclose a home mortgage or
        Chapter 11 - Reorganization                                                       repossess an automobile.

        Chapter 12 - Voluntary repayment plan                                             However, if the court finds that you have committed
                   for family farmers or                                                  certain kinds of improper conduct described in the
                   fishermen                                                              Bankruptcy Code, the court may deny your
                                                                                          discharge.
        Chapter 13 - Voluntary repayment plan
                   for individuals with regular                                           You should know that even if you file chapter 7 and
                   income                                                                 you receive a discharge, some debts are not
                                                                                          discharged under the law. Therefore, you may still
                                                                                          be responsible to pay:
 You should have an attorney review your
 decision to file for bankruptcy and the choice of                                            most taxes;
 chapter.
                                                                                              most student loans;

                                                                                              domestic support and property settlement
                                                                                              obligations;




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                       page 1
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        most fines, penalties, forfeitures, and criminal                                  your income is more than the median income for your
        restitution obligations; and                                                      state of residence and family size, depending on the
                                                                                          results of the Means Test, the U.S. trustee, bankruptcy
        certain debts that are not listed in your bankruptcy                              administrator, or creditors can file a motion to dismiss
        papers.                                                                           your case under § 707(b) of the Bankruptcy Code. If a
                                                                                          motion is filed, the court will decide if your case should
 You may also be required to pay debts arising from:                                      be dismissed. To avoid dismissal, you may choose to
                                                                                          proceed under another chapter of the Bankruptcy
        fraud or theft;                                                                   Code.

        fraud or defalcation while acting in breach of                                    If you are an individual filing for chapter 7 bankruptcy,
        fiduciary capacity;                                                               the trustee may sell your property to pay your debts,
                                                                                          subject to your right to exempt the property or a portion
        intentional injuries that you inflicted; and                                      of the proceeds from the sale of the property. The
                                                                                          property, and the proceeds from property that your
        death or personal injury caused by operating a                                    bankruptcy trustee sells or liquidates that you are
        motor vehicle, vessel, or aircraft while intoxicated                              entitled to, is called exempt property. Exemptions may
        from alcohol or drugs.                                                            enable you to keep your home, a car, clothing, and
                                                                                          household items or to receive some of the proceeds if
 If your debts are primarily consumer debts, the court                                    the property is sold.
 can dismiss your chapter 7 case if it finds that you have
 enough income to repay creditors a certain amount.                                       Exemptions are not automatic. To exempt property,
 You must file Chapter 7 Statement of Your Current                                        you must list it on Schedule C: The Property You Claim
 Monthly Income (Official Form 122A–1) if you are an                                      as Exempt (Official Form 106C). If you do not list the
 individual filing for bankruptcy under chapter 7. This                                   property, the trustee may sell it and pay all of the
 form will determine your current monthly income and                                      proceeds to your creditors.
 compare whether your income is more than the median
 income that applies in your state.

 If your income is not above the median for your state,
 you will not have to complete the other chapter 7 form,                                  Chapter 11: Reorganization
 the Chapter 7 Means Test Calculation (Official Form
 122A–2).
                                                                                                      $1,167    filing fee
 If your income is above the median for your state, you
 must file a second form —the Chapter 7 Means Test                                           +          $550    administrative fee
 Calculation (Official Form 122A–2). The calculations on
                                                                                                      $1,717    total fee
 the form— sometimes called the Means Test—deduct
 from your income living expenses and payments on
                                                                                          Chapter 11 is often used for reorganizing a business,
 certain debts to determine any amount available to pay
                                                                                          but is also available to individuals. The provisions of
 unsecured creditors. If
                                                                                          chapter 11 are too complicated to summarize briefly.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                            page 2
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        Read These Important Warnings

             Because bankruptcy can have serious long-term financial and legal consequences, including loss of
             your property, you should hire an attorney and carefully consider all of your options before you file.
             Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
             and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
             properly and protect you, your family, your home, and your possessions.

             Although the law allows you to represent yourself in bankruptcy court, you should understand that
             many people find it difficult to represent themselves successfully. The rules are technical, and a mistake
             or inaction may harm you. If you file without an attorney, you are still responsible for knowing and
             following all of the legal requirements.

             You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
             necessary documents.

             Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
             bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
             fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to
             20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                                                                                          Under chapter 13, you must file with the court a plan
 Chapter 12: Repayment plan for family                                                    to repay your creditors all or part of the money that
             farmers or fishermen                                                         you owe them, usually using your future earnings. If
                                                                                          the court approves your plan, the court will allow you
                                                                                          to repay your debts, as adjusted by the plan, within 3
                   $200        filing fee                                                 years or 5 years, depending on your income and other
 +                  $75         administrative fee                                        factors.
                   $275        total fee
                                                                                          After you make all the payments under your plan,
 Similar to chapter 13, chapter 12 permits family farmers                                 many of your debts are discharged. The debts that are
 and fishermen to repay their debts over a period of time                                 not discharged and that you may still be responsible to
 using future earnings and to discharge some debts that                                   pay include:
 are not paid.
                                                                                                 domestic support obligations,

                                                                                                 most student loans,
 Chapter 13: Repayment plan for
             individuals with regular                                                            certain taxes,
             income
                                                                                                 debts for fraud or theft,

                   $235        filing fee                                                        debts for fraud or defalcation while acting in a
 +                  $75        administrative fee                                                fiduciary capacity,
                   $310        total fee
                                                                                                 most criminal fines and restitution obligations,
 Chapter 13 is for individuals who have regular income
 and would like to pay all or part of their debts in                                             certain debts that are not listed in your
 installments over a period of time and to discharge                                             bankruptcy papers,
 some debts that are not paid. You are eligible for
 chapter 13 only if your debts are not more than certain                                         certain debts for acts that caused death or
 dollar amounts set forth in 11 U.S.C. § 109.                                                    personal injury, and

                                                                                                 certain long-term secured debts.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                           page 3
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                                                                                          A married couple may file a bankruptcy case
               Warning: File Your Forms on Time                                           together—called a joint case. If you file a joint case and
                                                                                          each spouse lists the same mailing address on the
 Section 521(a)(1) of the Bankruptcy Code requires that                                   bankruptcy petition, the bankruptcy court generally will
 you promptly file detailed information about your                                        mail you and your spouse one copy of each notice,
 creditors, assets, liabilities, income, expenses and                                     unless you file a statement with the court asking that
 general financial condition. The court may dismiss your                                  each spouse receive separate copies.
 bankruptcy case if you do not file this information within
 the deadlines set by the Bankruptcy Code, the                                            Understand which services you could receive from
 Bankruptcy Rules, and the local rules of the court.                                      credit counseling agencies

 For more information about the documents and                                             The law generally requires that you receive a credit
 their deadlines, go to:                                                                  counseling briefing from an approved credit counseling
 http://www.uscourts.gov/bkforms/bankruptcy_form                                          agency. 11 U.S.C. § 109(h). If you are filing a joint
 s.html#procedure.                                                                        case, both spouses must receive the briefing. With
                                                                                          limited exceptions, you must receive it within the 180
                                                                                          days before you file your bankruptcy petition. This
 Bankruptcy crimes have serious consequences                                              briefing is usually conducted by telephone or on the
                                                                                          Internet.
        If you knowingly and fraudulently conceal assets
        or make a false oath or statement under penalty                                   In addition, after filing a bankruptcy case, you generally
        of perjury—either orally or in writing—in                                         must complete a financial management instructional
        connection with a bankruptcy case, you may be                                     course before you can receive a discharge. If you are
        fined, imprisoned, or both.                                                       filing a joint case, both spouses must complete the
                                                                                          course.
        All information you supply in connection with a
        bankruptcy case is subject to examination by the                                  You can obtain the list of agencies approved to provide
        Attorney General acting through the Office of the                                 both the briefing and the instructional course from:
        U.S. Trustee, the Office of the U.S. Attorney, and                                http://justice.gov/ust/eo/hapcpa/ccde/cc_approved.html
        other offices and employees of the U.S.                                           .
        Department of Justice.
                                                                                          In Alabama and North Carolina, go to:
 Make sure the court has your mailing address                                             http://www.uscourts.gov/FederalCourts/Bankruptcy/
                                                                                          BankruptcyResources/ApprovedCredit
 The bankruptcy court sends notices to the mailing                                        AndDebtCounselors.aspx.
 address you list on Voluntary Petition for Individuals
 Filing for Bankruptcy (Official Form 101). To ensure                                     If you do not have access to a computer, the clerk of
 that you receive information about your case,                                            the bankruptcy court may be able to help you obtain
 Bankruptcy Rule 4002 requires that you notify the court                                  the list.
 of any changes in your address.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                           page 4
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B2030 (Form 2030) (12/15)
                                                               United States Bankruptcy Court
                                                          Southern District of Iowa, Western Division
             Anthony Wayne Salter
 In re       Mary Frances Salter                                                                              Case No.
                                                                                Debtor(s)                     Chapter       11

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                 25,000.00
             Prior to the filing of this statement I have received                                        $                 13,070.75
             Balance Due                                                                                  $                 11,929.25

2.     The source of the compensation paid to me was:

                  Debtor                  Other (specify):

3.     The source of compensation to be paid to me is:

                  Debtor                  Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   [Other provisions as needed]
                 Debtors have agreed to pay an hourly rate for services rendered in excess of money paid for the handling of this
                 bankruptcy.

6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               Representation in adversary proceedings and/or contested matters.
                                                                           CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     January 31, 2018                                                           /s/ Nicole Hughes
     Date                                                                       Nicole Hughes
                                                                                Signature of Attorney
                                                                                Telpner Peterson Law Firm, LLP
                                                                                25 Main Place, Suite 200
                                                                                P.O. Box 248
                                                                                Council Bluffs, IA 51502-0248
                                                                                712-325-9000 Fax: 712-328-1946
                                                                                nhughes@telpnerlaw.com
                                                                                Name of law firm




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                                                               United States Bankruptcy Court
                                                          Southern District of Iowa, Western Division
            Anthony Wayne Salter
 In re      Mary Frances Salter                                                                            Case No.
                                                                                    Debtor(s)              Chapter    11




                                                 VERIFICATION OF MASTER ADDRESS LIST
                                                     ON PAPER (CREDITOR MATRIX)



                          I (we) declare under penalty of perjury that I (we) have read the attached Master Address

            List (creditor matrix), consisting of                       7   pages, and that it is true and correct to the best of my

            (our) knowledge, information, and belief.




 Date: January 31, 2018                                                  /s/ Anthony Wayne Salter
                                                                         Anthony Wayne Salter
                                                                         Signature of Debtor

 Date: January 31, 2018                                                  /s/ Mary Frances Salter
                                                                         Mary Frances Salter
                                                                         Signature of Debtor




VER_MTRX (Rev. 04/00)


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                          Ag Resource Management
                          505 Main Street, Ste. 350
                          Fort Worth, TX 76102

                          Agrifund, LLC
                          1720 23rd St.
                          Fremont, NE 68025

                          Agriland FS Inc.
                          421 N. 10th St.
                          Winterset, IA 50273

                          Alan K. and Marlene A. Lomax, Trustees
                          c/o Joe Lally
                          5415 143rd Ave. SE
                          Bellevue, WA 98006

                          American Express
                          P.O. Box 6550448
                          Dallas, TX 75265-0448

                          Barb's 5, L.L.C.
                          c/o Bill Bracker
                          226 S. 6th St.
                          Council Bluffs, IA 51501

                          Barb's 5, L.L.C.
                          c/o Bill Bracker
                          226 S. 6th
                          Council Bluffs, IA 51501

                          Barclay
                          P.O. Box 8801
                          Wilmington, DE 19899-8801

                          Bert Neilsen Jr.
                          2653 Garland Ave.
                          Modale, IA 51556

                          C.W. Kellogg Farms
                          2947 Eagle Ridge Dr.
                          Missouri Valley, IA 51555

                          Capital One
                          P.O. Box 30285
                          Salt Lake City, UT 84130-0285

                          Capital One Bank (USA), N.A.
                          P.O. Box 6492
                          Carol Stream, IL 60197-6492

                          Charles A. Salter
                          16961 Poppleton Ave.
                          Omaha, NE 68130
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                      Chase Freedom
                      P.O .Box 15145
                      Wilmington, DE 19850

                      Chase Ink
                      P.O. Box 15145
                      Wilmington, DE 19850

                      CNH
                      Productivity Plus Account
                      P.O. Box 790449
                      Saint Louis, MO 63179

                      CNH Industrial Capital
                      P.O. Box 3600
                      Lancaster, PA 17604-3600

                      CNH Industrial Capital America LLC
                      500 Diller Ave.
                      New Holland, PA 17557

                      Crop    Production Services
                      Wall    Lake (Wholesale)
                      P.O.    Box 10
                      Wall    Lake, IA 51466

                      Cross Dillion Tire
                      P.O. Box 81208
                      Lincoln, NE 68501

                      Dart, Inc.
                      26057 South Ridge Road
                      Elwood, IL 60421

                      Decision One
                      7633 E. 63rd Pl., Ste. 300
                      Tulsa, OK 74133

                      Deere & Company
                      6400 NW 86th St.
                      P.O. Box 6600
                      Johnston, IA 50131-6630

                      Discover Financial Services
                      P.O. Box 30943
                      Salt Lake City, UT 84130-0943

                      EFS Credit Trust
                      50 Washington St., 10th Fl.
                      Norwalk, CT 06854

                      Farm Credit Services of America
                      P.O. Box 2409
                      Omaha, NE 68103-2409
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                      Fast Income Servicing
                      1608 S. Ashland Ave. #35697
                      Chicago, IL 60608

                      First Western Bank & Trust
                      100 Prairie Center Drive
                      Eden Prairie, MN 55344

                      Forward Financing, LLC
                      36 Bromfield Street, Ste. 210
                      Boston, MA 02108

                      Fulton
                      c/o Famers National Co.
                      11516 Nicholas St., #100
                      Omaha, NE 68154

                      Gary Deitering
                      c/o Dean Jennings
                      523 6th Avenue
                      Council Bluffs, IA 51503

                      Gawley Tire and Repair, Inc.
                      2139 Street F24
                      Irwin, IA 51446

                      George Whitmore
                      14105 N. 47th
                      Omaha, NE 68152

                      Halbur
                      115 E. 1st St.
                      P.O. Box 31
                      Halbur, IA 51444

                      Heartland Ag
                      P.O. Box 1070
                      Ames, IA 50014

                      Heartland Credit Company LLC
                      2829 Westown Parkway, #350
                      West Des Moines, IA 50266

                      Heartland Credit Company LLC
                      P.O. Box 71399
                      Clive, IA 50325

                      Heartland Credit Company, LLC
                      128 Third St. N.W.
                      P.O. Box 80
                      Sioux Center, IA 51250

                      Heartland Credit Company, LLC
                      2829 Westown Parkway, #350
                      West Des Moines, IA 50266
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                      Jeanne R. McCallum
                      5910 Morningside Ave.
                      Sioux City, IA 51106

                      Jim and Helen Young
                      c/o Ed Spencer
                      322 E. 7th St.
                      Logan, IA 51546

                      Jim Barta
                      c/o Ed Spencer
                      322 E. 7th St.
                      Logan, IA 51546

                      Joan Tomlin
                      9414 N. 87th
                      Scottsdale, AZ 85258

                      John Deere Financial
                      P.O. Box 4450
                      Carol Stream, IL 60197-4450

                      John Vana
                      10301 240th St.
                      Council Bluffs, IA 51503

                      Joseph P. Sandbothe Trust & Jeanette C.
                       Sandbothe Family Trust
                      1120 Simms Ave.
                      Council Bluffs, IA 51503

                      Joy Leaders
                      13002 S. 60th St.
                      Papillion, NE 68133

                      Joyce Grable
                      11758 County Road 38
                      Blair, NE 68008

                      Klauser Trust LLC
                      c/o Herbert M. Sampson III
                      633 Park River Place
                      Estes Park, CO 80517

                      Lexus Financial Services
                      P.O. Box 105386
                      Atlanta, GA 30348

                      Linden Aerial Spraying
                      18998 140th Street
                      Whiting, IA 51063
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                      Loutomco, Inc.
                      c/o Roger Leaders
                      13002 S. 60th St.
                      Papillion, NE 68133

                      Marcella Deschamp
                      363-acc 821 Lucy Dr.
                      Alamo, TX 78516

                      Merchant Cash and Capital, LLC
                      460 Park Avenue South, 10th Floor
                      New York, NY 10016

                      Mo. Valley Impl., Inc.
                      P.O. Box 430
                      Missouri Valley, IA 51555

                      New York Life Insurance Company
                      51 Madison Ave.
                      New York, NY 10010

                      Northland Capital Financial Services LLC
                      333 33rd Ave. South
                      Saint Cloud, MN 56301

                      Northland Capital Financial Services,LLC
                      P.O. Box 7278
                      Saint Cloud, MN 56302

                      Plum Investments
                      Doug Goracke
                      2016 Commerce Dr.
                      Red Oak, IA 51566

                      Rabo Agrifinance
                      P.O. Box 410650
                      Saint Louis, MO 63141-0650

                      Rabo Agrifinance, LLC
                      6919 Chancellor Drive
                      Cedar Falls, IA 50613

                      RCIS
                      3501 Thurston Ave.
                      Anoka, MN 55303

                      Rick and Connie Volz
                      c/o Agri Valley Management
                      P.O. Box 180
                      Mineola, IA 51554

                      Robert Deitering
                      c/o Dean Jennings
                      523 6th Avenue
                      Council Bluffs, IA 51503
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                      Robert E. and Sally J. Ambrose Family
                       Limited Partnership
                      182 Ambrose Road
                      Stahlstown, PA 15687

                      Robert E. Sweeney
                      c/o Hertz Farm Management
                      11717 M Circle
                      Omaha, NE 68137

                      Rocking K Ranch, LLC
                      12029 No. 123rd Way
                      Scottsdale, AZ 85259

                      Roger Leaders
                      13002 S. 60th St.
                      Papillion, NE 68133

                      Rumsey Trust
                      c/o Farmers National Co.
                      11516 Nicholas St., #100
                      Omaha, NE 68154

                      Salter Farms, LLC
                      1776 250th St.
                      Modale, IA 51556

                      Security National Mortgage
                      MS 314771
                      P.O. Box 24771
                      Seattle, WA 98124-0771

                      Security National Mortgage Company
                      5300 S. 360 West
                      Salt Lake City, UT 84123

                      Syngenta Seeds, LLC
                      13783 Collections Center Dr.
                      Chicago, IL 60693-0137

                      Ted Vatnsdal
                      11784 Wedgeport Ln.
                      Fishers, IN 46037

                      The James E. B. Stuart Living Trust
                      c/o Robert C. Stuart
                      7967 Ponderosa Dr.
                      Papillion, NE 68046

                      TNT2000, LLC
                      c/o Hertz Farm Management, Inc.
                      11717 M Cir.
                      Omaha, NE 68137
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                      Treynor State Bank
                      15 E. Main St.
                      P.O. Box A
                      Treynor, IA 51575

                      U.S. Bank
                      P.O. Box 790408
                      Saint Louis, MO 63179-0408

                      US Bank
                      Bankruptcy/Recovery Dept
                      P.O. Box 5529
                      Cincinnati, OH 45201
